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10   CITY OF HUNTINGTON BEACH, a California Charter City, and Mu-
11   nicipal Corporation, HUNTINGTON BEACH CITY COUNCIL, HUN-
     TINGTON BEACH POLICE DEPARTMENT, and the HUNTINGTON
12   BEACH POLICE CHIEF
13
14   UNITED STATES DISTRICT COURT
     CENTRAL DISTRICT OF CALIFORNIA
15
16   CITY      OF       HUNTINGTON CASE NO. 8:25-cv-00026-SSS-PD
17   BEACH, a California Charter FIRST AMENDED COMPLAINT FOR
     City, HUNTINGTON BEACH DECLARATORY AND INJUNCTIVE
18                                 RELIEF
     CITY COUNCIL, HUNTINGTON
19   BEACH POLICE DEPARTMENT, 1. VIOLATION OF THE SUPREMECY
20   and the HUNTINGTON BEACH         CLAUSE – ARTICLE VI, CLAUSE 2
     POLICE CHIEF, in his official    OF THE U.S. CONSTITUTION
21                                 2. VIOLATION OF THE NATURALI-
     capacity as Chief of Police,
22                                             ZATION CLAUSE – ARTICLE I,
                                               SECTION 8, CLAUSE 4 OF THE U.S.
23              Plaintiffs,                    CONSTITUTION
                    v.                      3. VIOLATION OF U.S. FEDERAL
24
                                               IMMIGRATION LAWS – 8 U.S.C. §,
25                                             1324
     The STATE OF CALIFORNIA,               4. VIOLATION OF U.S. FEDERAL
26                                             IMMIGRATION LAWS – 8 U.S.C. §
     GAVIN NEWSOM, in his official             1373
27
     capacity as Governor of the State      5. VIOLATION OF U.S. FEDERAL
28   of California; ROBERT BONTA in            IMMIGRATION LAWS – 18 U.S.C. §§


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 1   his official capacity as Attorney      4, 371, 372, and 1512

 2   General of the State of California; 6. VIOLATION OF CALIFORNIA PE-
                                            NAL CODE §§ 31, 32
     and
 3                                       7. VIOLATION        OF   CALIFORNIA
     DOES 1-50, inclusive,                  CONSTITUTION – ARTICLE XX,
 4                                           SECTION 3
 5              Defendants.               8. VIOLATION OF 42 U.S.C. § 1983
                                          9. NON-STATUTORY      CAUSE      OF
 6                                           ACTION FOR VIOLATION OF
                                             FEDERAL LAW
 7
 8                                             DEMAND FOR JURY TRIAL
     COMPLAINT
 9
          The CITY OF HUNTINGTON BEACH, a California Charter City,
10
     and Municipal Corporation, the HUNTINGTON BEACH CITY COUN-
11
     CIL, the HUNTINGTON BEACH POLICE DEPARTMENT, and the
12
     HUNTINGTON BEACH POLICE CHIEF, in his official capacity as
13
     Chief of Police are all collectively hereinafter referred to together as
14
     the “City” or together as “Plaintiffs.”
15
          The City brings this lawsuit seeking Declaratory and Injunctive
16
     Relief (“Complaint”) against the STATE OF CALIFORNIA, GAVIN
17
     NEWSOM, in his official capacity as Governor of the State of Califor-
18
     nia; ROBERT BONTA in his official capacity as Attorney General of
19
     the State of California; and DOES 1-50, inclusive (together as “De-
20
     fendants”), for various violations of law and actual and threatened
21
     State enforcement actions against the City in violation of ARTICLE
22
     VI, CLAUSE 2 OF THE U.S. CONSTITUTION, ARTICLE I, SECTION
23
     8, CLAUSE 4 OF THE U.S. CONSTITUTION, U.S. Federal Immigra-
24
     tion Laws under 8 U.S.C. §§ 1324, 1325, & 1373, Federal Criminal
25
     Laws under 18 U.S.C. §§ 4, 371, 372, and 1512, and Federal Civil
26
     Rights Laws under 42 U.S.C. § 1983, and causing the City further
27
     thereby to violate California Penal Code §§ 31, 32, for Aiding and
28
     Abetting and Accessory After the Fact in the Commission of Federal

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 1   crimes, and violations of City Officials’ Oath of Office pursuant to
 2   ARTICLE XX, SECTION 3 OF THE CALIFORNIA CONSTITUTION.
 3        By this Complaint, the City seeks a Judicial Declaration invali-
 4   dating, and an Injunction Order enjoining, California’s “Sanctuary
 5   State Law,” which includes, among other operative provisions, Cali-
 6   fornia Government Code §§ 7282, 7282.5, 7283-7283.2, 7284-7284.12,
 7   and 7285-7285.3 against the City, its Police Department, and all City
 8   Officials and employees. The City avers the following upon personal
 9   knowledge, information, and belief, and based upon the investigation
10   of counsel as to all other facts alleged in this Complaint.
11   INTRODUCTION
12        As a matter of law, the State’s “Sanctuary State Law” is unconsti-
13   tutional and violates Federal law; as a matter of enforcement policy, it is
14   a clear and present danger to the health, safety and wlfare of the City of
15   Huntington Beach. According to the California Department of Justice,
16   violent crime has risen in California by over 15% between 2018 and
17   20231, and aggravated assaults, motor vehicle theft, robbery, and arson
18   throughout the State have increased since 2018.
19        The Nation has seen violent crime committed by illegal immigrants
20   including MS-132 and Tren de Aragua gang members including widely
21   reported rapes, murders, assaults, and other crimes.3 In addition, the
22
23
     1 CALIFORNIA DEP’T OF JUSTICE, CRIME IN CALIFORNIA at 1 (2023),
24
     https://perma.cc/L24D-DHFV.
25   2 STAFF OF H. COMM. ON THE JUDICIARY AND THE SUBCOMMITTEE ON IMMI-

26   GRATION INTEGRITY, SECURITY, AND ENFORCEMENT, 118TH CONG., THE
     MURDER OF KAYLA HAMILTON: A CASE FOR IMMIGRATION ENFORCEMENT
27   AND BORDER SECURITY (May 23, 2023), https://perma.cc/QSN7-U55L.
28   3 KFOX-TV, Report: Tren De Aragua member arrested for sex trafficking

     migrant. At Gateway Hotel (Oct. 9, 2024), https://perma.cc/SAF8-LM3N;

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 1   reported violent crimes by illegal immigrants includes hostile take-overs
 2   by force of apartment buildings and other American establishments seen
 3   in Aurora, Colorado4 and El Paso, Texas.5 According to the U.S.
 4   Department of Homeland Security, California leads the nation with the
 5   highest illegal immigrant population of any other state – with 2,600,000
 6   in 2022.6
 7        Data shows that the flow of mass illegal immigration creates hu-
 8   man trafficking, including increasing a market in the United States for
 9   human trafficking – with “[t]he number of persons prosecuted for human
10   trafficking more than doubled from 2012 to 2022.”7
11        Human trafficking, which also results in sex trafficking, hurts
12   women and children the most8 and over 320,000 immigrant children
13   have gone missing in the United States. According to the Federal Gov-
14   ernment, those lost children are now completely unaccounted for and un-
15
16
     Christina Coulter, Colorado video shows Tren de Aragua gang beating
17
     apartment complex worker in extortion bid, company says, FOX NEWS
18   (Oct. 16, 2024), https://perma.cc/HF2N-E3M9.
     4 Samantha Jarpe, ICE: 16 detained in Aurora are suspected Tren de
19
     Aragua associates, KDVR (Dec. 18, 2024), https://perma.cc/W6ZF-FYYP .
20   5 Kerry Mannix, Inside a Downtown El Paso hotel that is reportedly hous-
21   ing Tren de Aragua gang members, KVIA.COM (Sep. 10, 2024),
22   https://perma.cc/5FR2-VZ23.
     6 Baker, B. & Warren, R., Estimates of the Unauthorized Immigrant Pop-
23
     ulation Residing in the United States: January 2018 to January 2022 at
24
     5, U.S. DEP’T OF HOMELAND SEC. (Apr. 18, 2024), https://perma.cc/75S4-
25   Z84K.
     7 BUREAU OF JUSTICE STATISTICS, HUMAN TRAFFICKING DATA COLLECTION
26
     ACTIVITIES, 2024, NCJ 309422 (Oct. 2024), https://perma.cc/5WJ9-TD8R.
27   8 Heather Robinson, How Biden’s border policies will increase sex traf-

28   ficking of children to US, NEW YORK POST (Apr. 17, 2021),
     https://perma.cc/7TLP-MH5Q.

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 1   able to be protected.9 Lest it be forgotten, entering the United States il-
 2   legally in the first place is a Federal crime. 8 U.S.C. §§ 1325 and 1326.
 3         Protecting the City’s 200,000 residents from crime and lawlessness
 4   is of the greatest import to, and of the highest order for, Huntington
 5   Beach’s City leaders and its Police Department. Huntington Beach is the
 6   23rd largest of 482 cities in the State of California.
 7         The State’s relatively new “Sanctuary State Law” directly conflicts
 8   with U.S. Federal immigration, criminal, and civil rights laws, including
 9   but not limited to 8 U.S.C. §§ 1324, 1373, and 1644; 18 U.S.C. §§ 4, 371,
10   372, and 1512; and 42 U.S.C. § 1983.
11         California’s Sanctuary State Law not only limits the ability of City
12   officials, including Huntington Beach Police personnel, to engage fully in
13   effective law enforcement practices, but it directs City officials, including
14   Huntington Beach Police personnel, to violate U.S. Federal law, includ-
15   ing and among others, 8 U.S.C. §§ 1324, 1373, and 1644, and 18 U.S.C.
16   §§ 4, 371, 372, and 1512. In fact, the conflict of laws created by the State
17   presents an untenable “Catch-22” for the City of Huntington Beach, e.g.,
18   comply with the State’s new Sanctuary State Law and violate U.S. Fed-
19   eral immigration laws, or comply with the Federal immigration laws,
20   and violate the Sanctuary State Law. This conflict must be reconciled by
21   this Court.
22         At the passage of California’s Sanctuary State Law in 2017, NPR
23   reported that the law “bans state and local agencies… from enforcing
24   ‘holds’ on people in custody. It blocks the deputization of police as immi-
25   gration agents and bars state and local law enforcement agencies from
26
27   9 Jennie Tauer, Biden-Harris admin loses track of 320,000 migrant chil-

28   dren – with untold numbers at risk of sex trafficking and forced labor,
     NEW YORK POST (Aug. 21, 2024), https://perma.cc/UES9-S289.

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 1   inquiring into an individual’s immigration status....      It also prohibits
 2   new or expanded contracts with Federal agencies to use California law
 3   enforcement facilities as detention centers, although it does not force the
 4   termination of existing contracts. . . .”10 Politico reported that this new
 5   law limits “local law enforcement officials’ ability to cooperate with fed-
 6   eral immigration authorities. . . .”11
 7         Huntington Beach is a City in the County of Orange. As will be
 8   presented in greater detail, infra, Sheriff Don Barnes reported that the
 9   Orange County Sheriff’s Department (hereinafter “OCSD”) is prohibited
10   by State law from notifying U.S. Immigration and Customs Enforcement
11   (ICE) of the release of inmates with ICE detainers. In 2018, 1,106 in-
12   mates in Orange County who had ICE detainers but did not meet eligi-
13   bility for notifying ICE were released into the community. Out of those
14   1,106 inmates, 173 were rearrested “in Orange County for committing 58
15   different types of crimes, including attempted murder, assault and bat-
16   tery, child molestation, and robbery.” In 2023, 547 inmates with ICE de-
17   tainers were released from Orange County Jail. About 81 of those in-
18   mates eligible for notification and transfer to ICE’s custody were not
19   transferred but were released into the community. A total of 40 individ-
20   uals were rearrested for committing new crimes in Orange County. Being
21   prevented from coordinating with Federal agencies by the Sanctuary
22   State Law prevents effective law enforcement, puts the community at
23   risk, and as the data shows, leads to more crimes.
24
25
26   10 Ben Adler, California Governor Signs ‘Sanctuary State’ Bill, NPR (Oct.

27   5, 2017), https://perma.cc/5YEE-2XF6.
28   11 David Siders, Brown signs ‘sanctuary state’ bill in California, POLITICO

     (Oct. 5, 2017), https://perma.cc/4LXS-4FP5.

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 1        In addition to commanding the City to violate U.S. Federal immi-
 2   gration laws, the State’s Sanctuary State Law forces City officials, in-
 3   cluding Huntington Beach Police personnel, to violate California Penal
 4   Code §§ 31 and 32 for “aiding and abetting” and “accessory after the fact”
 5   in harboring, concealing, or protecting the perpetrator who committed a
 6   Federal crime. Moreover, the Sanctuary State Law forces City officials,
 7   including Huntington Beach Police personnel, to harbor, conceal, or
 8   “shield from detection” known unauthorized aliens in their custody. The
 9   Sanctuary State Law commands City officials, including Huntington
10   Beach Police personnel, to turn a blind eye to the smuggling of aliens,
11   many of whom end up becoming victims of human trafficking.
12        The State cannot force the City to violate U.S. Federal immigration
13   laws that both the Ninth Circuit Court of Appeals and the United States
14   Supreme Court have held preempt related State laws under the Su-
15   premacy Clause.
16        To put a fine point, as a Charter City, Huntington Beach’s Police
17   Department does not belong to the State. Rather, the Huntington Beach
18   Police Department belongs to the City – and as such, the Police Depart-
19   ment should be free from State interference and control. The City and its
20   Police Department should be, therefore, entirely at liberty to employ eve-
21   ry lawful means to combat crime and promote public safety for the City’s
22   200,000 residents.
23        While the Federal Government cannot commandeer State and/or
24   local resources to effectuate its operations or achieve its goals, local
25   agencies, like Huntington Beach, should be at liberty to voluntarily co-
26   operate with the Federal Government in its operations in order to combat
27
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 1   local crime and promote local public safety.12 As it is now, California’s
 2   Sanctuary State Law prevents such voluntary cooperation thereby pre-
 3   venting the City from employing every lawful means available to combat
 4   crime in Huntington Beach and forces City officials to violate U.S. Fed-
 5   eral immigration laws. That the State can stand as a barrier between the
 6   City and the Federal Government not only shocks the conscience, but it
 7   is also unconstitutional.
 8        The Supremacy Clause of the U.S. Constitution demands that the
 9   California Sanctuary State Law yield to the Federal Government and not
10   act as a barrier to the enforcement of U.S. Federal immigration laws. By
11   enacting its Sanctuary State Law, the State of California exceeded its
12   authority and is unconstitutionally interfering with U.S. Federal law and
13   the City’s Charter Home Rule authority.
14        With no other remedy available at law, the City seeks a Judicial
15   Declaration invalidating, and an Injunction Order enjoining, the
16   State’s enforcement of operative portions of California’s “Sanctuary
17   State Law,” which includes, among others, California Government
18   Code §§ 7282, 7282.5, 7283-7283.2, 7284-7284.12, and 7285-7285.3,
19   against the City Plaintiffs and the City’s officials and employees.
20   PARTIES
21        1.    Plaintiff CITY OF HUNTINGTON BEACH is, and at all rele-
22   vant times was, a Municipal Corporation and Charter City13 organized
23   by the people of the City and existing under a freeholder’s charter and
24
25   12 See Cal. ex. Rel. Becerra v. Sessions, 284 F. Supp.3d 1015, 1035 (N.D.

26   Cal. 2018) (“No cited authority holds that the scope of state sovereignty
     includes the power to forbid state or local employees from voluntarily
27   complying with a federal program.”).
28   13 CITY OF HUNTINGTON BEACH, CAL., TITLE CHA CHARTER, PREAMBLE

     (Oct. 15, 2024), https://perma.cc/XX97-BXPA.

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 1   exercising “Home Rule” powers over its Municipal Affairs, including
 2   without limitation local law enforcement as authorized by Article XI,
 3   Section 5 of the California Constitution.
 4          2.    Plaintiff HUNTINGTON BEACH CITY COUNCIL (“City
 5   Council” or “Council Members”) is, and at all relevant times was, the
 6   elected body of seven members, elected by the People of the City pursu-
 7   ant to the Charter of the City of Huntington Beach. See Section 300, City
 8   Charter14.
 9          3.    Plaintiff HUNTINGTON BEACH POLICE DEPARTMENT
10   (“HBPD”) is, and at all relevant times was, the official local municipal
11   law enforcement department of the City of Huntington Beach, organized
12   as a Charter City pursuant to, and authorized as provided in Article XI,
13   including §§ 3 and 5, of the California Constitution.
14          4.    Plaintiff HUNTINGTON BEACH POLICE CHIEF (“HBPD
15   Chief”) is the Chief of the Huntington Beach Police Department. He was
16   duly appointed by the City Council.
17          5.    Defendant STATE OF CALIFORNIA is the State of Califor-
18   nia.
19          6.    Defendant GAVIN NEWSOM (“Governor”) is and at all rele-
20   vant times was the Governor of the State of California. He is being sued
21   in his official capacity.
22          7.    Defendant ROBERT BONTA (“Attorney General”) is and at
23   all relevant times was the Attorney General of the State of California. He
24   is being sued in his official capacity.
25
26
27
28   14 Id. at CHARTER ART. III § 300 (Oct. 15, 2024), https://perma.cc/VQK6-

     J5QL.

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  1   POTENTIAL PARTIES
  2         8.    The City is ignorant of the true names and capacities of those
  3   Defendants sued herein as DOES 1 through 50, inclusive, and therefore
  4   sue those Defendants by such fictitious names. The City will amend this
  5   Complaint to allege the true names and capacities of these fictitiously
  6   named Defendants when the same have been ascertained.
  7         9.    There are several individuals and/or entities whose true
  8   names and capacities are currently not known to the City. Evidence may
  9   come forth that others are legally responsible and liable to the City to the
 10   extent of the liability of the named Defendants. The City will seek leave
 11   of the Court to amend this Complaint to reflect the names and capacities
 12   should they become known. The City reserves the right to amend this
 13   claim pursuant to Fed. R. Civ. P. 15(a) and Fed. R. Civ. P. 21 with leave
 14   of the Court to add potential additional defendants and additional alle-
 15   gations and claims.
 16   JURISDICTION AND VENUE
 17         10.   This case presents Federal questions arising under the Con-
 18   stitution of the United States and seeks relief for the deprivation of Fed-
 19   eral rights under color of state law. This Court accordingly has subject-
 20   matter jurisdiction pursuant to 28 U.S.C. §§1331 and 1343.
 21         11.   This Court has authority to award Plaintiffs declaratory relief
 22   pursuant to 28 U.S.C. § 2201, and injunctive relief under 28 U.S.C. §§
 23   1343 and 2202, Rule 65 of the Federal Rules of Civil Procedure, and un-
 24   der Ex parte Young, 209 U.S. 123 (1908).
 25         12.   Venue is proper in this District under 28 U.S.C. § 1391(b) be-
 26   cause a substantial part of the events or omissions giving rise to Plain-
 27   tiffs’ claims occurred in this District.
 28


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  1   ALLEGATIONS
  2        A.    Charter City Authority
  3        13.   The City of Huntington Beach is a Municipal Corporation
  4   formed by the people of the City of Huntington Beach as a “Charter City”
  5   pursuant to California Constitution Article XI §§ 3 and 5.
  6        14.    To compare, “general law” cities are “political subdivisions” of
  7   the State and the law generally holds that such cities must follow the
  8   dictates of the State to execute functions of the State. Accordingly, “polit-
  9   ical subdivision” is defined to mean “a geographic area of representation .
 10   . . including, but not limited to, a city, a school district, a community col-
 11   lege district, or other district organized pursuant to state law.” Cal.
 12   Elect. Code § 14051(a).
 13        15.   Charter Cities on the other hand, being formed by the peo-
 14   ple of their city under the California Constitution (and not State law),
 15   are not political subdivisions of the State. To that end, both the Califor-
 16   nia Constitution and case law hold that Charter Cities possess independ-
 17   ent authority over Municipal Affairs – so “independent” as to be free
 18   from State Legislative interference and control. See Cal. Const. art. XI, §
 19   5(a) (which expressly states, “City charters adopted pursuant to this
 20   Constitution shall supersede any existing charter, and with re-
 21   spect to municipal affairs shall supersede all laws inconsistent
 22   therewith.” (emphasis added)).
 23        16.   As the Court of Appeal recently stated, Charter Cities, like
 24   Huntington Beach, “are distinct individual entities, and are not connect-
 25   ed political subdivisions of the state.” Haytasingh v. City of San Diego, 66
 26   Cal.App.5th 429, 459 (2021). The Court of Appeal explained that “‘[i]t is
 27   the free consent of the persons composing them that brings into existence
 28   municipal corporations, and they are used for the promotion of their own


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  1   local and private advantage and convenience… Cities, therefore, are dis-
  2   tinct individual entities, and are not connected political subdivisions of
  3   the state. As a matter of fact, municipalities, and particularly
  4   charter cities, are in a sense independent political organizations
  5   and do not pretend to exercise any functions of the state. They ex-
  6   ist in the main for the purposes of local government.’” Id., (empha-
  7   sis added) (quoting Otis v. City of Los Angeles, 52 Cal.App.2d 605, 611-12
  8   (1942)).
  9           17.   In 2020, the State Court of Appeal recognized that Charter
 10   Cities, far from being creatures of the State, enjoy constitutionally rec-
 11   ognized autonomy (Cal. Const. art. XI) and municipal authority over cer-
 12   tain areas of governance that is “supreme and beyond the reach of legis-
 13   lative enactment.” City of Redondo Beach v. Padilla, 46 Cal.App.5th. 902,
 14   910 (2020) (relying on Cal. Const. art. XI).
 15           18.   After the California Constitution of 1879 was adopted, the
 16   Supreme Court of California declared it was “manifestly the intent” of
 17   the drafters “to emancipate municipal governments from the authority
 18   and control formerly exercised over them by the Legislature.” Johnson v.
 19   Bradley, 4 Cal.4th 389, 395 (1992) (quoting People v. Hoge, 55 Cal. 612,
 20   618 (1880)).
 21           19.   Article XI, section 5 of the California Constitution provides in
 22   full:
 23                 (a) It shall be competent in any city charter to provide
 24                 that the city governed thereunder may make and en-
 25                 force all ordinances and regulations in respect to munic-
                    ipal affairs, subject only to restrictions and limitations
 26                 provided in their several charters and in respect to other
 27                 matters they shall be subject to general laws. City char-
                    ters adopted pursuant to this Constitution shall super-
 28


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  1              sede any existing charter, and with respect to municipal
  2              affairs shall supersede all laws inconsistent therewith.
  3              (b) It shall be competent in all city charters to provide,
  4              in addition to those provisions allowable by this Consti-
  5              tution, and by the laws of the State for: (1) the consti-
                 tution, regulation, and government of the city po-
  6              lice force (2) subgovernment in all or part of a city (3)
  7              conduct of city elections and (4) plenary authority is
                 hereby granted, subject only to the restrictions of this
  8
                 article, to provide therein or by amendment thereto, the
  9              manner in which, the method by which, the times at
 10              which, and the terms for which the several municipal of-
                 ficers and employees whose compensation is paid by the
 11
                 city shall be elected or appointed, and for their removal,
 12              and for their compensation, and for the number of depu-
 13              ties, clerks and other employees that each shall have,
                 and for the compensation, method of appointment, qual-
 14
                 ifications, tenure of office and removal of such deputies,
 15              clerks and other employees.
 16   Cal. Const. art. XI, § 5 (emphasis added).
 17        20.   The California Supreme Court has explained that § 5(a) of Ar-
 18   ticle XI of the California Constitution provides that a Charter City shall
 19   not be governed by State law in respect to “Municipal Affairs.” Rather,
 20   “so far as ‘Municipal Affairs’ are concerned,” Charter Cities’ laws are
 21   “supreme and beyond the reach of [State] legislative enactment.” Cali-
 22   fornia Fed. Savings & Loan Assn. v. City of Los Angeles 35 Cal.3d 1, 12
 23   (1991).
 24        21.   One of the “core” categories of Municipal Affairs that is specif-
 25   ically described in Article XI, § 5(b) is “the constitution, regulation and
 26   government of the city police force.” Cal. Const. art. XI, § 5(b)(1).
 27        22.   The “Home Rule” provision of the California Constitution au-
 28   thorizes a Charter City to exercise plenary authority over Municipal Af-

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  1   fairs, free from any constraint imposed by the general law and subject
  2   only to constitutional limitations. See Cal. Const. art. XI, § 5(a); Ex Parte
  3   Braun, 141 Cal. 204, 209 (1903); Bishop v. City of San Jose, 1 Cal. 3d 56,
  4   61 (1969); Comm. of Seven Thousand v. Super. Ct. (City of Irvine), 45
  5   Cal.3d 491 (1988).
  6         23.   As a Charter City, the City of Huntington Beach has supreme
  7   authority over its city police force. Cal. Const. art. XI, § 5(b).
  8         24.   As a Charter City particularly, the City’s Police Department
  9   does not belong to the State, rather, it belongs to the City – and as such,
 10   is free from State interference and control. The City’s Police Department
 11   engages in local arrests and investigations as Municipal Affairs.
 12         25.   The independence and Home Rule authority the California
 13   Constitution provides to Huntington Beach means that the City and its
 14   Police Department are, among many other things, at liberty to conduct
 15   effective law enforcement practices, including fighting violent crime by
 16   all means available, and “free” to comply with Federal laws in addition to
 17   its local laws; “free” from State interference.
 18         26.   The City of Huntington Beach has a duty to protect the
 19   health, safety, and welfare of its residents. Part of that duty is to ensure
 20   that police officers have the ability to investigate crimes before they oc-
 21   cur, and arrest and detain individuals who committed those crimes, in-
 22   cluding incidents involving unauthorized aliens. Part of that duty neces-
 23   sarily involves coordinating with other agencies, whether County, State,
 24   or Federal for full enforcement of the laws.
 25         27.   Article XX, § 3 of the California Constitution provides the
 26   Oath of Office that certain City officials, including elected officials and
 27   police officers, are required to take in order to be fully vested with au-
 28   thority for the office they are to assume. Cal. Const. art. XX, § 3.


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  1         28.   The Constitutionally required Oath of Office states “I, ............,
  2   do solemnly swear (or affirm) that I will support and defend the Consti-
  3   tution of the United States and the Constitution of the State of Califor-
  4   nia against all enemies, foreign and domestic; that I will bear true faith
  5   and allegiance to the Constitution of the United States and the Constitu-
  6   tion of the State of California; that I take this obligation freely, without
  7   any mental reservation or purpose of evasion; and that I will well and
  8   faithfully discharge the duties upon which I am about to enter.”
  9         29.   The Sanctuary State Law forces the City’s officials, including
 10   Huntington Beach Police personnel, to violate U.S. Federal law, in viola-
 11   tion of the California Constitution’s Oath of Office.
 12         B.    The Sanctuary State Law
 13         30.   In 2017, the State of California enacted the “Sanctuary State
 14   Law,” presented then as the “California Values Act of 2017.” The Legis-
 15   lative Bill at the time was commonly known as “Senate Bill 54” or “Cali-
 16   fornia’s Sanctuary State Law” (hereinafter “Sanctuary State Law”).
 17         31.   The Sanctuary State Law is unconstitutional. See U.S. Const.
 18   art. VI, cl. 2; U.S. Const. art. I, § 8, cl. 4; 8 U.S.C. §§ 1324, 1325, 1373; 18
 19   U.S.C. §§ 4, 371, 372, and 1512; see also, Cal. Const. art. XI, § 5; Cal.
 20   Const. art. XX, § 3.
 21         32.   The Sanctuary State Law violates the City’s right to fully con-
 22   trol its own Police Department and fully and effectively engage in law
 23   enforcement. Moreover, neither the State, nor its laws, may prevent the
 24   City of Huntington Beach from honoring, following, and/or complying
 25   with State and all Federal laws, including Federal laws on immigration,
 26   which is the supreme law of the land on immigration.
 27         33.   The Sanctuary State Law violates the City’s right to fully con-
 28   trol its own Police Department and fully and effectively engage in law


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  1   enforcement. Specifically, California Government Code §§ 7282.5, 7284.4,
  2   7284.6, 7285.1, and 7285.2 prohibit local law enforcement officers from
  3   cooperating with the Federal Government in criminal immigration inves-
  4   tigation.
  5        34.    The Sanctuary State Law bars local jurisdictions from com-
  6   plying with 8 U.S.C. § 1324 or participating in a joint task force that may
  7   involve immigration enforcement. See Cal. Gov. Code §§ 7282.5, 7282.4
  8   7284.6, 7285.1, 7285.2.
  9        35.    California Government Code §§ 7282.4 and 7282.5 restrict co-
 10   operation between local law enforcement agencies and the Federal Gov-
 11   ernment, which is a violation of 8 U.S.C. §§ 1373 and 1644, which ex-
 12   pressly preempt State and local laws and confer on local government offi-
 13   cials the absolute right to communicate with DHS about “the citizenship
 14   or immigration status, lawful or unlawful, of any individual.”
 15        36.    The Sanctuary State Law allows for smugglers to transport
 16   individuals into the United States in violation of 8 U.S.C. § 1324 for fi-
 17   nancial gain.
 18        37.    The Sanctuary State Law places aliens at risk of harm, in-
 19   cluding by being trafficked because California Law Enforcement Agen-
 20   cies cannot engage in the enforcement of 8 U.S.C. § 1324.
 21        38.    The Sanctuary State Law prohibits local law enforcement
 22   agencies from asking employers about a person’s immigration status un-
 23   der 8 U.S.C. § 1324(a)(3). See Cal. Gov. Code § 7284.6(a)(1)(A).
 24        39.    In recent years, Defendant Governor Gavin Newsom has tak-
 25   en a series of substantial steps to incentivize the inflow of illegal immi-
 26   gration into California, and to protect and harbor illegal immigrants, in-
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  1   cluding by implementing policies and laws to hire illegal immigrants in
  2   jobs in State government.15
  3        40.   Defendant Governor Gavin Newsom also has a new program
  4   to give illegal immigrants taxpayer funded downpayments of $150,000 to
  5   buy homes.16 Defendant Newsom is doing more than simply turning a
  6   blind eye, he is aggressively pursuing policies with taxpayer funds to in-
  7   centivize illegal immigrants to relocate to his Sanctuary State.
  8        41.   In 2024, Defendant Governor Gavin Newsom launched a pro-
  9   gram for California to spend $2.3 million of taxpayer money to support
 10   relocating and settling illegal immigrants to rural areas of the State.17
 11   Defendant Newsom is aggressively pursuing policies to commit taxpayer
 12   funds to protecting illegal immigrants.
 13        42.   In August of 2024, Defendant Governor Gavin Newsom
 14   launched another program to offer illegal immigrants home mortgage aid
 15   to buy homes.18 Defendant Newsom is doing more than simply sitting on
 16   the sidelines, he is aggressively pursuing policies with taxpayer funds to
 17   incentivize illegal immigrants to relocate to his Sanctuary State.
 18
 19
 20
      15 REFORM CALIFORNIA, California to Give Illegal Immigrants Jobs in
 21
      State Government, (June 3, 2024) https://perma.cc/MDB9-DVCL.
 22   16 Lee Ohanian, California’s One-Party State and Housing Subsidies for

 23   Undocumented Migrants, HOOVER INSTITUTION (Sept. 4, 2024),
      https://perma.cc/7EAX-V93A.
 24   17 Willie Rudman, Supporting California’s Rural Communities: $2.3 Mil-

 25   lion in Grants to Further Expand Immigrant Integration in Rural Re-
 26   gions, CALIFORNIA BUSINESS AND ECONOMIC DEVELOPMENT (June 28,
      2024), https://perma.cc/N2ET-8GPB.
 27   18 Karen Garcia, California lawmakers approve bill to extend home mort-

 28   gage aid to undocumented immigrants, LOS ANGELES TIMES (Aug. 29,
      2024), https://perma.cc/Y5MB-8P4M.

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  1            43.   Most recently, Defendant Governor Gavin Newsom estab-
  2   lished a $25 million taxpayer-funded legal defense fund for illegal immi-
  3   grants to fight the Federal government’s announced crackdown on illegal
  4   immigration, which seeks to combat the violent crimes committed
  5   against U.S. citizens.19 Governor Newson also established a fund of $25
  6   million of taxpayer money to fight the Trump Administration’s efforts to
  7   enforce Federal immigration law.20
  8            44.   In response to the November 5th election of Donald J. Trump
  9   as President of the United States, and with his nomination of Tom
 10   Homan as “Border Czar,” Defendant Governor Gavin Newsom convened
 11   the State Legislature in a Special Session to develop an “Immigrant
 12   Support Plan” designed to counter “Trump deportations.”21
 13            45.   It was widely reported that “Gavin Newsom’s administration
 14   is drafting a potential plan to help undocumented immigrants who may
 15   be threatened by . . . President Donald Trump’s mass deportation
 16   threats.” Id.
 17            46.   According to Politico, a draft of Defendant Gavin Newsom’s
 18   plan entitled “Immigrant Support Network Concept” proposes the “crea-
 19   tion of an Immigrant Support Network comprised of regional ‘hubs’ to
 20   connect at-risk individuals, their families, and communities with com-
 21
 22
      19 Ryan Mills,  California Governor Newsom Requests $25 Million from
 23   Legislature for Anti-Trump Litigation Fund, NATIONAL REVIEW (Dec. 3,
 24   2024), https://perma.cc/A76Q-REJV; Taryn Luna, Newsom approves mil-
 25   lions for immigrant aid and lawsuits against Trump, LA TIMES (Feb. 3,
      2025), https://perma.cc/8JQS-GHHE.
 26   20 Id.

 27   21 Lindsey Holden, Newsom’s team mulls immigrant support plan to
 28   counter    Trump     deportations, POLITICO (Dec.   24,   2024),
      https://perma.cc/8NJW-S2FE.

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  1   munity systems — such as legal services, schools, labor unions, local
  2   governments, etc.” Id. (emphasis added). Clearly, Defendant Gavin
  3   Newsom plans to further commandeer local governments to act in viola-
  4   tion of U.S. Federal immigration laws in the near future.
  5        47.   In addition, on December 17, 2024, Defendant Attorney Gen-
  6   eral Robert Bonta issued a Press Release advising illegal immigrants of
  7   the ways in which his office, and the State, were going to assist in shield-
  8   ing illegal immigrants from “threats of mass detention, arrests, and de-
  9   portation”22 and thus from detection and detention by the Federal Gov-
 10   ernment. In that Press Release, Robert Bonta directly advised that “[y]ou
 11   have the right to apply for and secure housing without sharing your im-
 12   migration status,” and “[y]ou have the right to an attorney.”
 13        48.   In that same Press Release, Defendant Robert Bonta stated,
 14   “State and local law enforcement cannot ask for your immigration sta-
 15   tus” and “State and local law enforcement cannot share your personal in-
 16   formation” and “State and local law enforcement cannot assist ICE with
 17   immigration enforcement.” Not only do the promises in the statement
 18   constitute violations of U.S. Federal immigration law, but his statement
 19   also reveals a systematic program by the State to shield illegal immi-
 20   grants in response to “the President-elect making clear his intent to
 21   move forward an inhumane and destructive immigration agenda once he
 22   takes office.” Defendant Robert Bonta’s statements make clear that his
 23   systematic program to protect illegal immigrants conflicts with the U.S.
 24   Federal immigration laws and Federal Government operations.
 25
 26
 27   22 CALIFORNIA ATTORNEY GENERAL’S OFFICE, Press Release, Attorney Gen-

 28   eral Bonta Reminds California Immigrants of Their Rights and Protec-
      tions Under the Law (Dec. 17, 2024), https://perma.cc/74PF-N6WR.

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  1         C.    Federal Authorities
  2               1.   U.S. Immigration Laws
  3         49.   “The federal power to determine immigration policy is well
  4   settled.” Arizona v. United States, 567 U.S. 387, 395 (2012).
  5         50.   Article I, Section 8, Clause 4 of the U.S. Constitution provides
  6   Congress with the “power… To establish an uniform Rule of Naturaliza-
  7   tion… throughout the United States.” U.S. Const. art. I, § 8, cl. 4.
  8         51.   In addition to conferring on Congress the power to determine
  9   when foreign nationals may obtain U.S. citizenship, the Naturalization
 10   Clause is sometimes viewed as contributing to Congress’s power over
 11   immigration, including its power to set rules for when aliens may enter
 12   or remain in the United States.
 13         52.   In Arizona, the Supreme Court confirmed that the Federal
 14   Government’s “broad, undoubted power” over immigration was partially
 15   based “on the national government’s constitutional power to ‘establish an
 16   uniform Rule of Naturalization,’ and its inherent power as sovereign to
 17   control and conduct relations with foreign nations.” 567 U.S. at 394–95
 18   (quoting U.S. Const. art. I, § 8, cl. 4).
 19         53.   In Harisiades v. Shaughnessy, 342 U.S. 580 (1952), the Su-
 20   preme Court observed that “[t]he power of Congress to exclude, admit, or
 21   deport aliens flows from sovereignty itself and from the power ‘To estab-
 22   lish an uniform Rule of Naturalization.’” Id. at 599 (quoting U.S. Const.
 23   art. I, § 8, cl. 4); see also INS v. Chadha, 462 U.S. 919, 940 (1983) (“The
 24   plenary authority of Congress over aliens under Art. I, § 8, cl. 4 is not
 25   open to question”); Toll v. Moreno, 458 U.S. 1, 10 (1982) (“Federal au-
 26   thority to regulate the status of aliens derives from various sources, in-
 27   cluding the Federal Government’s power ‘[to] establish [a] uniform Rule
 28   of Naturalization’…”) (quoting U.S. Const. art. I, § 8, cl. 4); Mathews v.


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  1   Diaz, 426 U.S. 67, 79–80 (1976) (“In the exercise of its broad power over
  2   naturalization and immigration, Congress regularly makes rules that
  3   would be unacceptable if applied to citizens.”).
  4           54.   Apart from the Naturalization Clause, the Supreme Court
  5   has cited Congress’s foreign commerce power as a basis for its immigra-
  6   tion power. See Toll, 458 U.S. at 10 (observing that Congress’s immigra-
  7   tion power also derives from “its power ‘[t]o regulate Commerce with for-
  8   eign Nations,’ and its broad authority over foreign affairs”) (citing U.S.
  9   Const. art. I, § 8, cl. 3); United States ex rel. Turner v. Williams, 194 U.S.
 10   279, 290 (1904) (recognizing that an immigration statute was based in
 11   part “on the power to regulate commerce with foreign nations, which in-
 12   cludes the entrance of ships, the importation of goods, and the bringing
 13   of persons into the ports of the United States”); Edye v. Robertson, 112
 14   U.S. 580, 600 (1884) (“It is enough to say that, Congress having the pow-
 15   er to pass a law regulating immigration as a part of the commerce of this
 16   country with foreign nations, we see nothing in the statute by which it
 17   has here exercised that power forbidden by any other part of the Consti-
 18   tution.”).
 19           55.   Furthermore, the federal government’s power over immigra-
 20   tion comes from its “inherent power as sovereign to control and conduct
 21   relations with foreign nations.” Arizona, 567 U.S. at 394 (citation omit-
 22   ted).
 23           56.   Conversely, “[u]nder the Constitution the states are granted
 24   no such powers; they can neither add to nor take from the conditions law-
 25   fully imposed by Congress upon admission, naturalization and residence
 26   of aliens in the United States or the several states.” DeCanas v. Bica, 424
 27   U.S. 351, 358 n.6 (1976) (quoting Takahashi v. Fish & Game Comm’n,
 28   334 U.S. 410, 419 (1948) (emphasis added)).


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  1          57.   The Immigration and Nationality Act (INA) specifically per-
  2   mits state and local law enforcement officers to assist federal officials in
  3   enforcing immigration law.23 No federal law, however, allows state or lo-
  4   cal officials to subvert or ignore the requirements of the INA. In fact, fed-
  5   eral law imposes significant criminal and civil penalties on those who do
  6   so.
  7          58.   The Sanctuary State Law violates Federal law, including the
  8   INA.
  9          59.   In 1952, Congress enacted the INA. 8 U.S.C. §§ 1101-1537.
 10   Section 274 of the INA, 8 U.S.C. § 1324, was enacted to combat human
 11   smugglers and imposes criminal penalties on anyone who “brings to or
 12   attempts to bring to the United States in any manner whatsoever [an al-
 13   ien] ... at a place other than a designated port of entry”; on anyone who
 14   “transports, or moves or attempts to transport or move ... [an illegal] al-
 15   ien within the United States”; anyone who “conceals, harbors, or shields
 16   from detection” an illegal alien, “or attempts to” do so; or anyone who
 17
 18
 19   23See, e.g., 8 U.S.C. § 1324(c) (arrests for criminal violation of the INA’s
 20   prohibitions against smuggling, transporting, or harboring aliens may be
      made not only by federal immigration officers, but also by “all other offic-
 21
      ers whose duty it is to enforce criminal laws”); id. § 1252c (authorizing
 22   state and local law enforcement to arrest unlawfully present aliens who
 23   have been previously removed and convicted of a felony); id. §
      1103(a)(10) (empowering DHS to authorize state and local law enforce-
 24
      ment officers, when an “actual or imminent mass influx of aliens . . . pre-
 25   sents urgent circumstances requiring an immediate Federal response,” to
 26   perform functions of federal immigration officers); and id. § 1357(g) (al-
      lowing DHS to enter into written agreements with State or local gov-
 27   ernments to assist in “investigation, apprehension, or detention of aliens
 28   in the United States” and also specifically allowing such cooperation
      even without written agreements).

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  1   “encourages or induces an alien” illegally “to come to, enter, or reside in
  2   the United States.” 8 U.S.C. 1324(a)(1)(A)..
  3        60.   In part, 8 U.S.C. § 1324 makes it a Federal crime for any per-
  4   son who, “knowing that a person is an alien, brings to or attempts to
  5   bring to the United States in any manner whatsoever such person at a
  6   place other than a designated port of entry or place other than as desig-
  7   nated by the Commissioner, regardless of whether such alien has re-
  8   ceived prior official authorization to come to, enter, or reside in the Unit-
  9   ed States and regardless of any future official action which may be taken
 10   with respect to such alien.” 8 U.S.C. § 1324(a)(1)(A)(i).
 11        61.   Section 1324 also makes it a Federal crime for any person to
 12   “knowing or in reckless disregard of the fact that an alien has come to,
 13   entered, or remains in the United States in violation of law, conceals,
 14   harbors, or shields from detection, or attempts to conceal, harbor, or
 15   shield from detection, such alien in any place, including any building or
 16   any means of transportation.” 8 U.S.C. § 1324(a)(1)(A)(iii).
 17        62.   And, 8 U.S.C. § 1324 makes it a Federal crime for any person
 18   to “knowingly hire[] for employment at least 10 individuals with actual
 19   knowledge that the individuals are [illegal] aliens.” 8 U.S.C. § 1324(a)(3).
 20        63.    Federal law also provides that “[n]otwithstanding any other
 21   provision of Federal, State, or local law, a Federal, State, or local gov-
 22   ernment entity or official may not prohibit, or in any way restrict, any
 23   government entity or official from sending to, or receiving from, [DHS]
 24   information regarding the citizenship or immigration status, lawful or
 25   unlawful, of any individual.” 8 U.S.C. § 1373(a).
 26        64.   Similarly, 8 U.S.C. § 1644 provides that “[n]otwithstanding
 27   any other provision of Federal, State, or local law, no State or local gov-
 28   ernment entity may be prohibited, or in any way restricted, from sending


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  1   to or receiving from [DHS] information regarding the immigration sta-
  2   tus, lawful or unlawful, of an alien in the United States.”
  3        65.   Under 18 U.S.C. § 4, “[w]hoever, having knowledge of the ac-
  4   tual commission of a felony cognizable by a court of the United States,
  5   conceals and does not as soon as possible make known the same to some
  6   judge or other person in civil or military authority under the United
  7   States, shall be fined under this title or imprisoned not more than three
  8   years, or both.” 18 U.S.C. § 4.
  9        66.   Under 18 U.S.C. § 371, “[i]f two or more persons conspire ei-
 10   ther to commit any offense against the United States, or to defraud the
 11   United States, or any agency thereof in any manner or for any pur-
 12   pose…each shall be fined under this title or imprisoned not more than
 13   five years, or both.” 18 U.S.C. § 371.
 14        67.   Under 18 U.S.C. § 372, “[i]f two or more persons…conspire to
 15   prevent, by force, intimidation, or threat, any person from accepting or
 16   holding any office, trust, or place of confidence under the United
 17   States…or impede him in the discharge of his official duties, each of such
 18   persons shall be fined under this title or imprisoned not more than six
 19   years, or both.” 18 U.S.C. § 372.
 20        68.   Additionally, it is a crime carrying a penalty of up to 20 years’
 21   imprisonment for anyone who “knowingly ... engages in misleading con-
 22   duct toward another person, with intent to ... cause or induce any person
 23   to ... be absent from an official proceeding to which such person has been
 24   summoned by legal process” or to “hinder, delay, or prevent the commu-
 25   nication to a law enforcement officer or judge of the United States of in-
 26   formation relating to the commission or possible commission of a Federal
 27   offense or a violation of ... parole[] or release pending judicial proceed-
 28   ings.” 18 U.S.C. § 1512(b)(2)(D) and (b)(3).


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  1        69.    The Tenth Amendment of the U.S. Constitution holds that the
  2   Federal Government may not commandeer State or local resources to
  3   administer or enforce a Federal regulatory program against the will of
  4   the State or local resources.
  5        70.    The Tenth Amendment, however, does not allow a State or its
  6   officials or its resources to violate Federal laws, including U.S. Federal
  7   immigration laws.
  8        71.    The Tenth Amendment also does not allow a State to direct a
  9   city or its local officials or its resources to violate Federal laws, including
 10   U.S. Federal immigration laws.
 11        72.    And while the Tenth Amendment holds that the Federal Gov-
 12   ernment may not commandeer State and local resources against their
 13   will to act at the Federal Government’s behest, there is nothing, includ-
 14   ing the Tenth Amendment itself, that prevents State or local officials or
 15   local resources from voluntarily cooperating with the Federal Govern-
 16   ment in the administration or enforcement of a Federal regulatory pro-
 17   gram, including U.S. Federal immigration laws. See Cal. ex. Rel. Becerra
 18   v. Sessions, 284 F. Supp.3d at 1035 (“No cited authority holds that the
 19   scope of state sovereignty includes the power to forbid state or local em-
 20   ployees from voluntarily complying with a Federal program.”).
 21        73.    “Anti-commandeering” under the 10th Amendment is not a
 22   barrier to a local jurisdiction’s voluntary cooperation with the Federal
 23   Government in the administration or enforcement of a Federal regulato-
 24   ry program, including U.S. Federal immigration laws. See City of New
 25   York v. United States, 179 F.3d 29, 35 (2d Cir. 1999) (rejecting the city’s
 26   argument to turn the 10th Amendment “into a sword allowing states and
 27   localities to engage in passive resistance that frustrates Federal pro-
 28   grams.”).


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  1                2.   Supremacy Clause of the U.S. Constitution
  2         74.    Article VI, Clause 2 of the U.S. Constitution is known as the
  3   “Supremacy Clause.”         The Supremacy Clause holds that Federal law
  4   prevails over any conflicting state laws, including immigration laws.
  5         75.    The Supremacy Clause mandates that “[t]his Constitution,
  6   and the Laws of the United States which shall be made in Pursuance
  7   thereof . . . shall be the supreme Law of the Land . . . any Thing in the
  8   Constitution or Laws of any State to the Contrary notwithstanding.” U.S.
  9   Const. art. VI, cl. 2.
 10         76.    The Supremacy Clause “prohibit[s] States from interfering
 11   with or controlling the operations of the Federal Government.” Geo
 12   Group, Inc. v. Newsom, 50 F.4th 745, 750 (9th Cir. 2022) (quoting United
 13   States v. Washington, 142 S. Ct. 1976, 1984 (2022)).
 14         77.    The Constitution affords Congress the power to “establish an
 15   uniform Rule of Naturalization,” and to “dispose of and make all needful
 16   Rules and Regulations respecting the Territory or other Property belong-
 17   ing to the United States.” U.S. Const. art. IV, § 3. The Constitution also
 18   affords the President of the United States the authority to “take Care
 19   that the Laws be faithfully executed.” U.S. Const. art. II, § 3. Additional-
 20   ly, the Federal Government has “inherent power as sovereign to control
 21   and conduct relations with foreign nations.” Arizona, 567 U.S. at 395.
 22         78.    The Federal Government has the preeminent role of regulat-
 23   ing aliens entering the United States and within its borders. U.S. Const.
 24   art. I, § 8, cl. 4; U.S. Const. art. I § 8, cl. 3.
 25         79.    In U.S. v. King County, Washington,, the Ninth Circuit wrote
 26   “In recognition of the Federal government’s independence from state con-
 27   trol, the intergovernmental immunity doctrine prohibits states from ‘in-
 28   terfering with or controlling the operations of the Federal Government.’”


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  1   122 F.4th 740, 756 (9th Cir. 2024) (citation omitted).Recent California
  2   legislation that sought to interfere with the Federal Government’s immi-
  3   gration enforcement efforts was struck down as unconstitutional.
  4   “Whether analyzed under intergovernmental immunity or preemption,
  5   California cannot exert this level of control over the Federal govern-
  6   ment’s detention operations. AB 32 therefore violates the Supremacy
  7   Clause.” Geo Group, Inc., 50 F.4th at 751.
  8        80.   “Any state regulation that purports to override the Federal
  9   government’s decisions about who will carry out Federal functions runs
 10   afoul of the Supremacy Clause.” Geo Group, Inc., 50 F.4th at 750. By
 11   purporting to prevent the City of Huntington Beach from voluntarily co-
 12   operating with the Federal Government, and by purporting to prevent
 13   the City of Huntington Beach from complying with Federal immigration
 14   laws under 8 U.S.C §§ 1324, 1373, and 1644, California’s Sanctuary
 15   State Law runs afoul of the Supremacy Clause.
 16        81.   A state enactment is unconstitutional if it is an “‘obstacle to
 17   the accomplishment and execution of the full purposes and objectives of
 18   Congress.’” Toll, 458 U.S. at 36 (quoting Hines v. Davidowitz, 312 U.S.
 19   52, 67 (1941)).
 20        82.   The United States Government has broad authority to estab-
 21   lish immigration laws, which cannot be hindered or obstructed by state
 22   law. Arizona, 567 U.S. at 394-95. “Effective immigration law enforce-
 23   ment requires a cooperative effort between all levels of government.” City
 24   of New York v. United States, 179 F.3d at 32-33.
 25        83.   “Power to regulate immigration is unquestionably exclusively
 26   a Federal power.’” DeCanas, 424 U.S. at 354 (superseded on other
 27   grounds by statute as stated in Kansas v. Garcia, 589 U.S. 191, 195
 28   (2020)).


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  1        84.   “[T]he Executive [has] very broad discretion to determine
  2   [immigration] enforcement priorities.” Arizona Dream Act Coal. v. Brew-
  3   er, 855 F.3d 957, 967 (9th Cir. 2017). “Congress expressly charged the
  4   Department      of    Homeland   Security    with   the   responsibility    of
  5   ‘[e]stablishing national immigration enforcement policies and priorities.’”
  6   Id. at 967 (quoting 6 U.S.C § 202(5)). Under President Joe Biden’s Ad-
  7   ministration, the Department of Homeland Security prioritized the ar-
  8   rest and removal of aliens who pose threats to national security, threat
  9   to public safety, and threat to border security “or who have unlawfully
 10   entered the country only recently.” United States v. Texas, 599 U.S. 670,
 11   673 (2023).24
 12        85.   The U.S. Supreme Court held that Congress intended to
 13   preempt the field of immigration. Arizona, 567 U.S. at 399. Field pre-
 14   emption is the intent to displace state law that is so pervasive that Con-
 15   gress left no room for the state to supplement it or that a Federal inter-
 16   est is so dominant that it will be assumed that state enforcement is pre-
 17   cluded. Id.
 18        86.   In Valle Del Sol Inc. v. Whiting, 732 F.3d 1006 (9th Cir. 2019),
 19   the Ninth Circuit held that 8 U.S.C. § 1324 preempted state law and that
 20   the Federal scheme “reserves prosecutorial power, and thus discretion,
 21   over harboring violations to Federal prosecutors.” Id. at 1027.
 22        87.   There are explicit preemption clauses in 8 U.S.C. §§ 1373 and
 23   1644, stating that “[n]otwithstanding any other provision of Federal,
 24   State, or local law,” States may not prohibit local government authorities
 25   from communicating with DHS “regarding the citizenship or immigra-
 26   tion status, lawful or unlawful, of any individual.”
 27
 28   24See also, Alejandro N. Mayorkas, Guidelines for the Enforcement of
      Civil Immigration Law (Sept. 30, 2021), https://perma.cc/H9TU-Y3M5.

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  1        88.    In an opinion by the California Attorney General in 1992 ex-
  2   amining a California city’s local sanctuary ordinance, the Attorney Gen-
  3   eral stated that such sanctuary laws are preempted by 8 U.S.C. § 1324.
  4   CA Attorney General Opinions, 75 Ops. Cal. Atty. Gen. 270 (Nov. 19,
  5   1992).25   The California Attorney General concluded, “Due to the su-
  6   premacy clause of the United States Constitution, a city may not prohibit
  7   its officers and employees from cooperating in their official capacities
  8   with Immigration and Naturalization Service investigation, detention, or
  9   arrest procedures relating to alleged violations of the civil provisions of
 10   the federal immigration laws.” Id. at *1.
 11        89.    The Attorney General further stated that “[w]hen a peace of-
 12   ficer lawfully comes across information in the course of investigating a
 13   crime which reasonably leads to the belief that the person arrested is il-
 14   legally present in this country, neither the state nor Federal Constitu-
 15   tion prevents the officer from advising the INS of such information.” Id.
 16   (citing Gates v. Superior Court, 193 Cal.App.3d 205, 219 (1987)).
 17        90.    The California Attorney General concluded that the sanctu-
 18   ary city ordinance conflicted with Federal law because it would “under-
 19   mine the deterrent effect of the criminal or civil penalties contained in
 20   the [Immigration and Naturalization] Act.” CA Attorney General Opin-
 21   ions, 75 Ops. Cal. Atty. Gen. at *2; see Gates v. Superior Court, 193
 22   Cal.App.3d at 219 (“Where otherwise warranted investigation by local of-
 23   ficers leads to evidence of a Federal civil or criminal violation, the local
 24   authority has the right to exchange information with Federal authori-
 25   ties; to deny such an exchange is not reasonable and rewards those Fed-
 26
 27
 28   25 75 Ops. Cal. Att’y Gen. 270 (Nov. 19, 1992), https://perma.cc/MFH9-

      46F6.

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  1   eral violators fortunate enough to be arrested by local, rather than Fed-
  2   eral, officials.”).
  3         91.     The California Attorney General also stated, “The Immigra-
  4   tion and Naturalization Act is the law of this land and it is the ‘act of re-
  5   sponsible citizenship’ and the ‘duty’ and the right of every citizen to as-
  6   sist in prosecuting and securing punishment for its breach by giving
  7   whatever information he or she may have in that regard to aid those who
  8   enforce it.” CA Attorney General Opinions, 75 Ops. Cal. Atty. Gen. at *2
  9   (quoting 67 Ops. Cal. Atty. Gen. 331, *12-13 (July 24, 1984).26
 10         92.     Additionally, the California Attorney General concluded in a
 11   1984 opinion that, while local authorities are under no legally enforcea-
 12   ble duty to report to the INS information about persons who entered the
 13   country in violation of 8 U.S.C § 1324, they may do so “as a matter of
 14   comity and good citizenship.” See 67 Ops. Cal. Atty. Gen. at *3.27
 15         93.     The California Attorney General further stated that “Con-
 16   gress surely did not intend that state and local governments would un-
 17   dermine the deterrent effect of the criminal or civil penalties contained
 18   in the [Immigration Control Act]. By giving the impression that illegal
 19   aliens may obtain refuge from such penalties in a particular locale, the
 20   ordinance creates localized immigration policy and dissipates enforce-
 21   ment of Federal laws.” CA Attorney General Opinions, 75 Ops. Cal. Atty.
 22   Gen. at *5.
 23         94.     The California Attorney General determined that a sanctuary
 24   city ordinance “concerns a subject matter, immigration, wherein Federal
 25   power to regulate is exclusive.” CA Attorney General Opinions, 75 Ops.
 26
 27
      26 Id. at 264.
 28
      27 67 Ops. Cal. Att’y. Gen. 333 (1984), https://perma.cc/B552-3J94.



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  1   Cal. Atty. Gen. at *3 (citing De Canas v. Bica, 424 U.S. 351, 354-55
  2   (1975)). Federal preemption occurs when the local enactment “stands as
  3   an obstacle to the accomplishment and execution of the full purposes and
  4   objectives of Congress.” Hines v. Davidowitz, 312 U.S. at 67.
  5         95.   The California Attorney General further determined “[T]hat
  6   Congress has placed great importance on the immigration detection ef-
  7   fort is evidenced by the criminal penalties which have been established
  8   for those who assist illegal aliens in escaping detection.” CA Attorney
  9   General Opinions, 75 Ops. Cal. Atty. Gen. at *5 (citing 8 U.S.C § 1324);
 10   see United States v. Rubio-Gonzales (5th Cir. 1982) 674 F.2d 1067, 1073;
 11   United States v. Cantu (5th Cir. 1977) 557 F.2d 1173, 1180; United
 12   States v. Lopez (2d Cir. 1975) 521 F.2d 437, 444; 67 Ops. Cal. Atty. Gen.
 13   at *10, n. 16.
 14         96.   The California Attorney General found the local sanctuary
 15   ordinance to be “‘an obstacle to the accomplishment and execution of the
 16   full purposes and objectives of Congress.’” CA Attorney General Opin-
 17   ions, 75 Ops. Cal. Atty. Gen. at *6 (quoting Hines v. Davidowitz, 312 U.S.
 18   at 67). “A direct conflict with a Federal or state statute or regulation pre-
 19   sents a separate and distinct basis for the preemption of a local ordi-
 20   nance.” (CA Attorney General Opinions, 75 Ops. Cal. Atty. Gen. at *6, n.
 21   9 (citations omitted).28
 22         97.   The Sanctuary State Law is no different than the city ordi-
 23   nances discussed in the Attorney General’s opinions. The Attorney Gen-
 24   eral correctly concluded that Federal law preempted the local sanctuary
 25   ordinances, and that conclusion also applies to the State Sanctuary Law.
 26   Congress intended to preempt state law over criminal immigration en-
 27
 28   28 75 Ops. Cal. Att’y. Gen. 268, (1992), https://perma.cc/MFH9-46F6.



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  1   forcement because it “surely did not intend that state and local govern-
  2   ments would undermine the deterrent effect of the criminal or civil pen-
  3   alties contained in the [Immigration Control Act]. By giving the impres-
  4   sion that illegal aliens may obtain refuge from such penalties in a par-
  5   ticular locale, [the Sanctuary State Law] creates localized immigration
  6   policy and dissipates enforcement of Federal laws.” CA Attorney General
  7   Opinions, 75 Ops. Cal. Atty. Gen. at *5.29
  8         D.    Obstruction Caused by the Sanctuary State Law
  9         98.   Among many things, the Sanctuary State Law’s interference
 10   with the City’s coordination with the Federal Government in order to
 11   “protect” illegal immigrants from the Federal Government’s enforcement
 12   of the U.S. Federal immigration laws as Defendants Governor Newsom
 13   and Attorney General Robert Bonta explain, amounts to “harboring” of
 14   illegal aliens by the State of California.
 15         99.   The Ninth Circuit has joined the Third, Fourth, and Eleventh
 16   Circuit in concluding that the Federal scheme on harboring under 8
 17   U.S.C. § 1324 is comprehensive and field preemptive. Valle Del Sol Inc.,
 18   732 F.3d at 1025-26; see Lozano v. City of Hazleton, 724 F.3d 297, 315-16
 19   (3rd Cir. 2013) (joining the Eleventh Circuit in finding that state law
 20   proscribing harboring or sheltering aliens infringes upon a “comprehen-
 21   sive statutory scheme”) (citing United States v. Alabama, 691 F.3d 1269,
 22   1285-87 (11th Cir. 2012)); United States v. South Carolina, 906 F. Supp.
 23   2d 463, 468 (D.S.C. 2012), aff’d, 720 F.3d 518 (11th Cir. July 23, 2013).
 24         100. The “INA provides a comprehensive framework to penalize
 25   the transportation, concealment, and inducement of unlawfully present
 26   aliens.” Under this statutory scheme (8 U.S.C. § 1324(a)(1)(A)(ii)-(iv)),
 27
 28   29 Id. at 267.



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  1   the “Federal government has clearly expressed more than a ‘peripheral
  2   concern’ with the entry, movement, and residence of aliens within the
  3   United States and the breadth of these laws illustrates an overwhelm-
  4   ingly dominant Federal interest in the field. Georgia Latina Alliance for
  5   Human Rights v. Governor of GA, 691 F.3d 1250, 1263-64 (11th Cir.
  6   2012) (GLAHR).
  7        101. The Sanctuary State Law prohibits the cooperation between
  8   City officials, including the Huntington Beach Police personnel, and the
  9   Federal Government on Federal immigration law enforcement.
 10        102. Under the Supremacy Clause, any state law “which interferes
 11   with or is contrary to Federal law, must yield.” Gade v. National Solid
 12   Wastes Management Association, 505 U.S. 88, 108 (1992).
 13        103. Similar to Arizona’s statute in Valle Del Sol, the Sanctuary
 14   State Law is preempted because it prohibits Huntington Beach police of-
 15   ficers from notifying Federal authorities of any unauthorized aliens in its
 16   custody, which violates 8 U.S.C. §§ 1373 and 1644, and it violates 8
 17   U.S.C. § 1324(a)(1)(iii) by requiring Huntington Beach police officers to
 18   “knowing[ly] or in reckless disregard” “conceal[], harbor[], or shield[]
 19   from detection” aliens in Huntington Beach’s City Jail or “any means of
 20   transportation.”
 21        104. “Given the Federal primacy in the field of enforcing prohibi-
 22   tions on the transportation, harboring, and inducement of unlawfully
 23   present aliens, the prospect of fifty individual attempts to regulate im-
 24   migration-related matters cautions against permitting states to intrude
 25   into this area of dominant Federal concern.” Valle Del Sol, 732 F. 3d at
 26   p. 1027 (quoting GLAHR, 691 F.3d at 1266).
 27        105. The Sanctuary State Law frustrates the Department of
 28   Homeland Security’s enforcement priorities to arrest or remove individu-


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  1   als who are a threat to national security, public safety, or recently en-
  2   tered the United States unlawfully. In fact, California Attorney General
  3   Bonta has expressed support for DHS’s enforcement priorities to arrest
  4   or remove individuals who pose a risk to public safety, are terrorists, or
  5   recently arrived.
  6           106. City officials, including Huntington Beach Police personnel,
  7   cannot obey the Sanctuary State Law without violating 8 U.S.C, §
  8   1324(a)(1)(iii) when they have knowledge or in reckless disregard that an
  9   individual in their custody is in violation of law and are prohibited from
 10   sharing the information with the Federal authorities.
 11           107. The Orange County Sheriff, Don Barnes, is required to report
 12   annually to the Orange County Board of Supervisors on the county’s
 13   compliance with California Government Code §§ 7283 and 7283.1 (“Cali-
 14   fornia’s Transparent Review of Unjust Transfers and Holds (“TRUTH”)
 15   Act).
 16           108. Sheriff Barnes stated that OCSD is prohibited by State law
 17   from notifying ICE of the release of inmates with ICE detainers. In 2018,
 18   1,106 inmates who had ICE detainers but did not meet eligibility for no-
 19   tifying ICE were released into the community. Of those 1,106 inmates,
 20   173 were rearrested “in Orange County for committing 58 different types
 21   of crimes, including attempted murder, assault and battery, child moles-
 22   tation, and robbery.” (Exhibit “A.”)
 23           109. In 2019, OCSD released 1,015 inmates with ICE detainers in-
 24   to the community without notifying ICE of their release because they did
 25   not meet state law requirement for notification. “Of the 1,015 inmates
 26   with ICE detainers who were released back into the community, 238
 27   have been rearrested in Orange County for committing new crimes, in-
 28   cluding assault and battery, rape, and robbery.” (Exhibit “B.”)


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  1        110. In 2020, OCSD released 168 inmates who had ICE detainers
  2   but did not meet the state law’s requirement for notifying ICE were re-
  3   leased into the community. Out of the 168 inmates, 36 were rearrested
  4   for new crimes in Orange County. (Exhibit “C.”)
  5        111. In 2021, OCSD released 199 inmates who had ICE detainers.
  6   In compliance with state law, 143 of these 199 inmates met the state’s
  7   requirement for transfer to ICE’s custody. Only 73 out of the 143 indi-
  8   viduals were transferred to ICE’s custody. The 70 individuals who were
  9   eligible for transfer to ICE, but were not, were released into the commu-
 10   nity. A total of 24 out of the 70 individuals were re-arrested for commit-
 11   ting new crimes in Orange County. (Exhibit “D.”)
 12        112. In 2021, there were 56 inmates who had ICE detainers but
 13   did not meet state law requirements for notifying ICE of their release. Of
 14   the 56 released into the community, three were rearrested for commit-
 15   ting new crimes in Orange County. (Exhibit “D.”)
 16        113. In 2022, 272 inmates were released from Orange County jail
 17   with ICE detainers. OCSD notified ICE of the inmates who were eligible
 18   for transfer to ICE’s custody. Of the 155 individuals who met the eligibil-
 19   ity, only 17 were transferred to ICE’s custody. The other 138 individuals
 20   were released into the community. A total of 20 of these individuals were
 21   rearrested for committing new crimes in Orange County. (Exhibit “E.”)
 22        114. In 2022, there were 117 inmates who had ICE detainers, but
 23   state law prohibited OCSD from notifying ICE. They were released into
 24   the community. A total of 13 were rearrested for new crimes in Orange
 25   County. (Exhibit “E.”)
 26        115. In 2023, 547 inmates with ICE detainers were released from
 27   Orange County Jail. OCSD notified ICE of the inmates who were eligi-
 28   ble for transfer to ICE’s custody under state law. About 81 of those in-


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  1   mates eligible for notification and transfer to ICE’s custody were not
  2   transferred and were instead released into the community. A total of 40
  3   of those individuals were rearrested for committing new crimes in Or-
  4   ange County. (Exhibit “F.”)
  5        116. In 2023, there were 245 inmates with ICE detainers who were
  6   not eligible for notifying ICE and were released into the community. Out
  7   of them, 27 were rearrested for new crimes in Orange County. These
  8   crimes were robbery, carjacking, kidnapping, parole or probation viola-
  9   tion, sales or transport of narcotics, domestic violence, assault with a
 10   deadly weapon, and felony driving under the influence. (Exhibit “F.”30)
 11        117. Huntington Beach police officers cannot comply with both
 12   State and Federal laws while carrying out their duty. For example, for
 13   an unauthorized alien arrested for allegedly committing petty theft and
 14   placed in city jail, the Sanctuary State Law prohibits Huntington Beach
 15   Police officers from sharing information with ICE. Even if ICE requests
 16   information about the individual, Huntington Beach cannot provide in-
 17   formation about the individual, and thus, the City would be concealing,
 18   harboring or shielding from detection an unauthorized alien in its “build-
 19   ing” under 8 U.S.C. § 1324(a)(1)(iii). And if ICE arrives at the jail facili-
 20   ty, Huntington Beach authority must refuse assumption of custody, as
 21   mandated by the Sanctuary State Law. The Sanctuary State Law puts
 22   Huntington Beach in violation of 8 U.S.C. § 1324(a)(1)(iii).
 23
 24
 25   30 During his presentation to the Orange County Board of Supervisors,

 26   Sheriff Barnes reported that 27 inmates who were released into the
      community committed new crimes. Sheriff Barnes specified the types of
 27   crimes that these 27 individuals committed. However, these crimes were
 28   not     specified   in   the    staff    report   (Exhibit  “F”).   See
      https://ocgov.granicus.com/player/clip/5109?view_id=8&redirect=true

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  1        118. Compliance with 8 U.S.C. § 1324(a)(1)(ii) is vital to stopping
  2   human smuggling. The Sanctuary State Law mandates that law en-
  3   forcement not cooperate with Federal authorities over immigration mat-
  4   ters, including joining a task force.
  5        119. Huntington Beach City officials, including Huntington Beach
  6   Police Department personnel, are prohibited from cooperating, detaining,
  7   or investigating whether there is a potential for human trafficking. City
  8   officials, including Huntington Beach Police Department personnel, are
  9   prohibited from informing the Federal Government about an alien en-
 10   gaged in smuggling individuals into the United States, if that alien is not
 11   otherwise engaged in human trafficking for forced labor or sex services.
 12        120. Under the Sanctuary State Law, Huntington Beach Police Of-
 13   ficers are prohibited from asking about the immigration status of aliens
 14   working for an employer. Cal. Gov. Code § 7284.6 (a)(1)(A).
 15        E.    Harm to the Plaintiffs Caused by the Sanctuary State
 16              Law
 17        121. The Sanctuary State Law harms the Plaintiffs.
 18        122. It incentivizes increased illegal immigration and the presence
 19   of higher numbers of illegal aliens within the City.
 20        123. The City of Huntington Beach has proprietary interests that
 21   are harmed by the presence of increased numbers of illegal aliens.
 22        124. For example, the City has proprietary economic interests that
 23   are harmed by the increased number of illegal aliens in the City caused
 24   by the Sanctuary State Law. These harms include, among other things,
 25   1) decreased revenue caused by illegal alien residents and workers who
 26   do not pay taxes; and 2) lower property tax revenue from decreased prop-
 27   erty values.
 28


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  1         125. Illegal aliens also harm the City’s proprietary interests by in-
  2   creasing the City’s expenditures for, among other things, the following:
  3   1) criminal enforcement; 2) enforcement of labor and health laws and
  4   regulations; and 3) increased expenditure of public funds to provide pub-
  5   lic services to illegal aliens.
  6         126. The Sanctuary State Law also harms the City by interfering
  7   with its proprietary interest in regulating within its jurisdiction, includ-
  8   ing by conducting law enforcement activities in conformity with the re-
  9   quirements of Federal law.
 10         127. The Sanctuary State Law also harms the City and each of the
 11   individually named Plaintiffs by subjecting the City’s officers and em-
 12   ployees, including the named individual Plaintiffs, to a genuine risk of
 13   prosecution under State law for engaging in conduct that is required by,
 14   or protected by, Federal law and the U.S. Constitution.
 15         128. The genuine risk of prosecution under the Sanctuary State
 16   Law also harms the City’s propriety interests because of the fiscal cost of
 17   those prosecutions, which will cause the City to incur significant costs for
 18   defending itself and its officers and employees.
 19         129. The Sanctuary State Law also harms the individual Plaintiffs
 20   by infringing their Free Speech rights under the First Amendment to the
 21   U.S. Constitution for speech that is specifically protected by 8 U.S.C. §§
 22   1373 and 1644.
 23         130. The Sanctuary State Law also harms the individual Plaintiffs
 24   by restricting them from engaging in conduct that is protected under fed-
 25   eral law, such as under 8 U.S.C. §§ 1373 and 1644.
 26
 27
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  1                             FIRST CAUSE OF ACTION
  2                VIOLATION OF THE SUPREMECY CLAUSE
  3          ARTICLE VI, CLAUSE 2 OF THE U.S. CONSTITUTION
  4                            8 U.S.C. §§ 1324, 1373, and 1644
  5                               (Against All Defendants)
  6         131. Plaintiffs hereby incorporate the allegations made in each
  7   preceding paragraph of this Complaint as if fully set forth herein.
  8         132. The Sanctuary State Law is unconstitutional. See U.S. Const.
  9   art. VI, cl. 2; U.S. Const. art. I, § 8, cl. 4; U.S. Const. amend. I; 8 U.S.C.
 10   §§ 1324, 1325, 1373, and 1644; 18 U.S.C. §§ 4, 371, 372, and 1512; see al-
 11   so Cal. Const. art. XI, § 5; Cal. Const. art. XX, § 3.
 12         133. The Supremacy Clause mandates that “[t]his Constitution,
 13   and the Laws of the United States which shall be made in Pursuance
 14   thereof . . . shall be the supreme Law of the Land . . . any Thing in the
 15   Constitution or Laws of any State to the Contrary notwithstanding.” U.S.
 16   Const. art. VI, cl. 2.
 17         134. The Supremacy Clause “prohibit[s] States from interfering
 18   with or controlling the operations of the Federal Government.” Geo
 19   Group, Inc., 50 F.4th at 750 (quoting United States v. Washington, 142 S.
 20   Ct. at 1984).
 21         135. The Sanctuary State Law violates the Supremacy Clause pre-
 22   cisely because it interferes with, in fact it obstructs, the Federal Gov-
 23   ernment’s efforts to coordinate to enforce U.S. Federal immigration laws,
 24   including but not limited to 8 U.S.C. §§ 1324, 1373, and 1644. See Cal.
 25   Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1,7285.2.
 26         136. Under the Sanctuary State Law, City officials, including Hun-
 27   tington Beach Police personnel, are mandated to “conceal, harbor, or
 28   shield from detection” any alien in their custody in violation of 8 U.S.C. §


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  1   1324(a)(1)(iii).   See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1,
  2   7285.2.
  3         137. City officials, including Huntington Beach Police personnel,
  4   are unable to fulfill their duty to investigate or detain individuals having
  5   committed crimes without violating the Sanctuary State Law. See Cal.
  6   Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.)
  7         138. The Sanctuary State Law prohibits local law enforcement of-
  8   ficers from cooperating with the Federal Government in criminal immi-
  9   gration investigation.    See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6,
 10   7285.1, 7285.2.
 11         139. The Sanctuary State Law bars local jurisdictions from com-
 12   plying with 8 U.S.C. §§ 1324, 1373, and 1644, or participating in a joint
 13   task force. See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
 14         140. The Sanctuary State Law restricts cooperation between local
 15   law enforcement agencies and the Federal Government. See Cal. Gov.
 16   Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.)
 17         141. The Sanctuary State Law’s interference with the City’s coor-
 18   dination with the Federal Government in order to “protect” illegal immi-
 19   grants from the Federal Government’s enforcement of the U.S. Federal
 20   immigration laws as Defendants Governor Newsom and Attorney Gen-
 21   eral Robert Bonta stated, amounts to “harboring” of illegal aliens by the
 22   State of California.
 23         142. City officials, including Huntington Beach Police personnel,
 24   are unable to stop crime before it occurs. Instead, they must sit idly by
 25   and wait for a human smuggling incident to become a human trafficking
 26   situation in order to intervene and comply with California Government
 27   Code §§ 7282.5, 7284.4, 7284.6.
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  1         143. The Sanctuary State Law is an obstacle to the City’s ability to
  2   comply with U.S. Federal immigration laws. It prevents City officials,
  3   including Huntington Beach Police personnel, from full, effective law en-
  4   forcement and obstructs the City’s ability to coordinate and cooperate
  5   with Federal law enforcement agencies. As U.S. Federal immigration
  6   law, according to the Supremacy Clause, is supreme, the Sanctuary State
  7   Law is an unconstitutional barrier to the City’s effective law enforcement
  8   efforts.
  9         144. Governor Newsom and Attorney General Bonta have publicly
 10   expressed on multiple occasions their intent to enforce the Sanctuary
 11   State Laws and they have a direct connection to such enforcement by vir-
 12   tue of the offices that they hold. Governor Newsom’s and Attorney Gen-
 13   eral Bonta’s violations of the Supremacy Clause are ongoing. Their en-
 14   forcement of the Sanctuary State Law causes ongoing harm to the Plain-
 15   tiffs, and prospective injunctive relief will redress that harm.
 16         145. Plaintiffs have no adequate remedy at law. Absent relief, De-
 17   fendants’ actions continue to harm and threaten to harm Plaintiffs by
 18   impairing enjoyment of this right.
 19                         SECOND CAUSE OF ACTION
 20              VIOLATION OF THE NATURALIZATION CLAUSE
 21   ARTICLE I, SECTION 8, CLAUSE 4 OF THE U.S. CONSTITUTION
 22                                 8 U.S.C. § 1324
 23                           (Against All Defendants)
 24         146. Plaintiffs hereby incorporate the allegations made in each
 25   preceding paragraph of this Complaint as if fully set forth herein.
 26         147. The Sanctuary State Law is unconstitutional. See U.S. Const.
 27   art. VI, cl. 2; U.S. Const. art. I, § 8, cl. 4; U.S. Const. amend. I; 8 U.S.C.
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  1   §§ 1324, 1325, 1373, and 1644; 18 U.S.C. §§ 4, 371, 372, and 1512; see al-
  2   so Cal. Const. art. XI, § 5; Cal. Const. art. XX, § 3.
  3         148. Article I, Section 8, Clause 4 of the U.S. Constitution provides
  4   Congress with the “power… To establish an uniform Rule of Naturaliza-
  5   tion… throughout the United States.” U.S. Const. art. I, § 8, cl. 4.
  6         149. In addition to conferring Congress with power to determine
  7   when foreign nationals may obtain U.S. citizenship, the Naturalization
  8   Clause is viewed as contributing to Congress’s power over immigration,
  9   including its power to set rules for when aliens may enter or remain in
 10   the United States.
 11         150. In Arizona v. United States, 567 U.S. at 387, the Supreme
 12   Court declared that the Federal Government’s “broad, undoubted power”
 13   over immigration was partially based “on the national government’s con-
 14   stitutional power to ‘establish an uniform Rule of Naturalization,’ and its
 15   inherent power as sovereign to control and conduct relations with foreign
 16   nations.” Id. at 394–95 (quoting U.S. Const. art. I, § 8, cl. 4).
 17         151. The Sanctuary State Law violates the City’s right to fully con-
 18   trol its own Police Department and fully and effectively engage in law
 19   enforcement. Moreover, neither the State, nor its laws, may prevent the
 20   City of Huntington Beach from honoring, following, and/or complying
 21   with State and all Federal laws, including Federal laws on immigration,
 22   which is the supreme law of the land on immigration.
 23         152. The Sanctuary State Law violates the City’s right to fully con-
 24   trol its own Police Department and fully and effectively engage in law
 25   enforcement. Specifically, California Government Code §§ 7282.5, 7284.4,
 26   7284.6, 7285.1, and 7285.2 prohibit local law enforcement officers from
 27   cooperating with the Federal Government in criminal immigration inves-
 28   tigation.


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  1        153. Under the Sanctuary State Law, City officials, including Hun-
  2   tington Beach Police personnel, are mandated to “conceal, harbor, or
  3   shield from detection” any alien in their custody in violation of 8 U.S.C.§
  4   1324(a)(1)(iii). See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1,
  5   7285.2.
  6        154. The Sanctuary State Law bars local jurisdiction from comply-
  7   ing with 8 U.S.C. §§ 1324, 1373, and 1644 or participating in a joint task
  8   force. See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
  9        155. California Government Code §§ 7284.4 and 7282.5 restrict co-
 10   operation between local law enforcement agencies and the Federal Gov-
 11   ernment.
 12        156. The Sanctuary State Law allows for smugglers to transport
 13   individuals into the United States in violation of 8 U.S.C. § 1324 for fi-
 14   nancial gain.
 15        157. The Sanctuary State Law places aliens at risk of harm or be-
 16   ing trafficked because California Law Enforcement Agencies cannot en-
 17   gage in the enforcement of 8 U.S.C. § 1324.
 18        158. The Sanctuary State Law prohibits local law enforcement
 19   agencies from asking employers about a person’s immigration status un-
 20   der 8 U.S.C. § 1324(a)(3). Cal. Gov. Code § 7284.6(a)(1)(A).
 21        159. In recent years, Defendant Governor Gavin Newsom has tak-
 22   en a series of substantial steps to incentivize the inflow of illegal immi-
 23   gration into California, and to protect and harbor illegal immigrants, in-
 24   cluding by implementing policies and laws to: hire illegal immigrants in
 25   jobs in State government, give illegal immigrants taxpayer funded
 26   downpayments of $150,000 to buy homes, spend $2.3 million of taxpayer
 27   money to support the relocating and settling of illegal immigrants in ru-
 28   ral areas of the State, give illegal immigrants home mortgage aid to buy


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  1   homes, newly allocating $25 million in taxpayer-funded legal defense
  2   fund for illegal immigrants to fight the Federal government’s announced
  3   crackdown on illegal immigration, which seeks to combat the violent
  4   crimes committed against U.S. citizens, and the list goes on.
  5        160. In addition, on December 17, 2024, Defendant Attorney Gen-
  6   eral Robert Bonta issued a Press Release advising illegal immigrants on
  7   the ways in which his office, and the State, were going to assist in shield-
  8   ing illegal immigrants from “threats of mass detention, arrests, and de-
  9   portation” and thus from detection and detention by the Federal Gov-
 10   ernment. In that press release, Robert Bonta directly advised that “[y]ou
 11   have the right to apply for and secure housing without sharing your im-
 12   migration status,” and “[y]ou have the right to an attorney.”
 13        161. Defendant Robert Bonta has stated, “State and local law en-
 14   forcement cannot ask for your immigration status” and “State and local
 15   law enforcement cannot share your personal information” and “State and
 16   local law enforcement cannot assist ICE with immigration enforcement.”
 17   Not only do the promises in his statement constitute violations of Feder-
 18   al immigration law, his statement also reveals a systematic program by
 19   the State to shield illegal immigrants in response to “the President-elect
 20   making clear his intent to move forward an inhumane and destructive
 21   immigration agenda once he takes office.”       Defendant Robert Bonta’s
 22   statements make clear that his systematic program to protect illegal
 23   immigrants conflicts with U.S. Federal immigration laws and Federal
 24   Government operations.
 25        162. “Effective immigration law enforcement requires a coopera-
 26   tive effort between all levels of government.” City of New York v. United
 27   States, 179 F.3d at 32-33.
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  1         163. The Sanctuary State Law violates Article I, Section 8, Clause
  2   4 of the U.S. Constitution by actively obstructing the authority of the
  3   Federal Government and obstructing the City’s ability to employ all laws
  4   available, including U.S. Federal immigration laws, to combat crime and
  5   ensure public safety by coordinating with the Federal Government to
  6   deal with certain individuals committing crimes and who are subject to
  7   U.S. Federal immigration laws.
  8         164. Governor Newsom and Attorney General Bonta have publicly
  9   expressed on multiple occasions their intent to enforce the Sanctuary
 10   State Laws and they have a direct connection to such enforcement by vir-
 11   tue of the offices that they hold. Governor Newsom’s and Attorney Gen-
 12   eral Bonta’s violations of the Naturalization Clause are ongoing. Their
 13   enforcement of the Sanctuary State Law causes ongoing harm to the
 14   Plaintiffs, and prospective injunctive relief will redress that harm.
 15         165. Plaintiffs have no adequate remedy at law. Absent relief, De-
 16   fendants’ actions continue to harm and threaten to harm Plaintiffs by
 17   impairing enjoyment of this right.
 18                          THIRD CAUSE OF ACTION
 19         VIOLATION OF U.S. FEDERAL IMMIGRATION LAWS
 20                                  8 U.S.C. § 1324
 21                           (Against All Defendants)
 22         166. Plaintiffs hereby incorporate the allegations made in each
 23   preceding paragraph of this Complaint as if fully set forth herein.
 24         167. The Sanctuary State Law is unconstitutional. See U.S. Const.
 25   art. VI, cl. 2; U.S. Const. art. I, § 8, cl. 4; U.S. Const. amend. I; 8 U.S.C.
 26   §§ 1324, 1325, 1373, and 1644; 18 U.S.C. §§ 4, 371, 372, and 1512; see al-
 27   so Cal. Const. art. XI, § 5; Cal. Const. art. XX, § 3.
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  1         168. In 1952, Congress enacted the INA. 8 U.S.C. §§ 1101-1537.
  2   Section 274 of the INA, 8 U.S.C. § 1324, was enacted to combat human
  3   smugglers and imposes criminal penalties on anyone who “brings to or
  4   attempts to bring to the United States in any manner whatsoever [an al-
  5   ien] ... at a place other than a designated port of entry”; on anyone who
  6   “transports, or moves or attempts to transport or move ... [an illegal] al-
  7   ien within the United States”; anyone who “conceals, harbors, or shields
  8   from detection” an illegal alien, “or attempts to” do so; or anyone who
  9   “encourages or induces an alien” illegally “to come to, enter, or reside in
 10   the United States.” 8 U.S.C. 1324(a)(1)(A).
 11         169. And, 8 U.S.C. § 1324 makes it a Federal crime for any person
 12   to “knowingly hire[] for employment at least 10 individuals with actual
 13   knowledge that the individuals are aliens described in subparagraph
 14   (B).” 8 U.S.C. § 1324(a)(3)(A).
 15         170. Under the Sanctuary State Law, City officials, including Hun-
 16   tington Beach Police personnel, are mandated to “conceal, harbor, or
 17   shield from detection” any alien in their custody in violation of 8 U.S.C. §
 18   1324(a)(1)(iii).   See Cal. Gov. Code §§ 7284.4, 7282.5, 7284.6, 7285.1,
 19   7285.2.
 20         171. City officials, including Huntington Beach Police personnel,
 21   are unable to fulfill their duty to investigate or detain individuals having
 22   committed crimes without violating the Sanctuary State Law. See Cal.
 23   Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
 24         172. The Sanctuary State Law prohibits local law enforcement of-
 25   ficers from cooperating with the Federal Government in criminal immi-
 26   gration investigations. See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6,
 27   7285.1, 7285.2.
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  1        173. The Sanctuary State Law bars local jurisdictions from com-
  2   plying with 8 U.S.C. §§ 1324, 1373, and 1644 or participating in a joint
  3   task force. See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
  4        174. The Sanctuary State Law restricts cooperation between local
  5   law enforcement agencies and the Federal Government. See Cal. Gov.
  6   Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
  7        175. The Sanctuary State Law’s interference with the City’s coor-
  8   dination with the Federal Government in order to “protect” illegal immi-
  9   grants from the Federal Government’s enforcement of the U.S. Federal
 10   immigration laws, as Defendants Governor Newsom and Attorney Gen-
 11   eral Robert Bonta have declared, is “harboring” of illegal aliens by the
 12   State of California.
 13        176. City officials, including Huntington Beach Police personnel,
 14   are unable to stop crime before it occurs. Instead, they must sit idly by
 15   and wait for a human smuggling incident to become a human trafficking
 16   situation in order to intervene and comply with California Government
 17   Code §§ 7282.5, 7284.4, 7284.6.
 18        177. The Sanctuary State Law is an obstacle to the City’s ability to
 19   comply with U.S. Federal immigration laws. It prevents City officials,
 20   including Huntington Beach Police personnel, from full, effective law en-
 21   forcement and obstructs the City’s ability to coordinate and cooperate
 22   with Federal law enforcement agencies. Pursuant to the Supremacy
 23   Clause, U.S. Federal immigration law is supreme, and the Sanctuary
 24   State Law is an unconstitutional barrier to the City’s effective law en-
 25   forcement efforts.
 26        178. Governor Newsom and Attorney General Bonta have publicly
 27   expressed on multiple occasions their intent to enforce the Sanctuary
 28   State Laws and they have a direct connection to such enforcement by vir-


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  1   tue of the offices that they hold. Governor Newsom’s and Attorney Gen-
  2   eral Bonta’s violations of 8 U.S.C. § 1324 are ongoing. Their enforcement
  3   of the Sanctuary State Law causes ongoing harm to the Plaintiffs, and
  4   prospective injunctive relief will redress that harm.
  5         179. Plaintiffs have no adequate remedy at law. Absent relief, De-
  6   fendants’ actions continue to harm and threaten to harm Plaintiffs by
  7   impairing enjoyment of this right.
  8                         FOURTH CAUSE OF ACTION
  9         VIOLATION OF U.S. FEDERAL IMMIGRATION LAWS
 10                           8 U.S.C. §§ 1373 and 1644
 11                           (Against All Defendants)
 12         180. Plaintiffs hereby incorporate the allegations made in each
 13   preceding paragraph of this Complaint as if fully set forth herein.
 14         181. The Sanctuary State Law is unconstitutional. See U.S. Const.
 15   art. VI, cl. 2; U.S. Const. art. I, § 8, cl. 4; U.S. Const. amend. I; 8 U.S.C.
 16   §§ 1324, 1325, 1373, and 1644; 18 U.S.C. §§ 4, 371, 372, and 1512; see al-
 17   so Cal. Const. art. XI, § 5; Cal. Const. art. XX, § 3.
 18         182. Title 8, U.S.C. § 1373(a) provides, “Notwithstanding any other
 19   provision of Federal, State, or local law, a Federal, State, or local gov-
 20   ernment entity or official may not prohibit, or in any way restrict, any
 21   government entity or official from sending to, or receiving from, ... [DHS]
 22   information regarding the citizenship or immigration status, lawful or
 23   unlawful, of any individual.”
 24         183. Similarly, 8 U.S.C. § 1644 states that “Notwithstanding any
 25   other provision of Federal, State, or local law, no State or local govern-
 26   ment entity may be prohibited, or in any way restricted, from sending to
 27   or receiving from ... [DHS] information regarding the immigration sta-
 28   tus, lawful or unlawful, of an alien in the United States.”


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  1         184. The Sanctuary State Law “prohibit[s]” and “restrict[s]” the
  2   Plaintiffs and the City’s employees “from sending to, or receiving from,”
  3   DHS “information regarding the immigration status” of aliens. 8 U.S.C. §
  4   1373 and 1644. The Sanctuary State Law, therefore, violates federal
  5   statutes containing specific preemption clauses.
  6         185. Under the Sanctuary State Law, City officials, including Hun-
  7   tington Beach Police personnel, are mandated to “conceal, harbor, or
  8   shield from detection” any alien in their custody in violation of 8 U.S.C.§
  9   1324(a)(1)(iii).   See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1,
 10   7285.2.
 11         186. The Sanctuary State Law prohibits local law enforcement of-
 12   ficers from cooperating with the Federal Government in criminal immi-
 13   gration investigation.    See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6,
 14   7285.1, 7285.2.
 15         187. The Sanctuary State Law’s interference with the City’s coor-
 16   dination with the Federal Government in order to “protect” illegal immi-
 17   grants from the Federal Government’s enforcement of the Federal immi-
 18   gration laws, as Defendants Governor Newsom and Attorney General
 19   Robert Bonta have declared, is “harboring” of illegal aliens by the State
 20   of California.
 21         188. The Sanctuary State Law is an obstacle to the City’s ability to
 22   comply with U.S. Federal immigration laws. It prevents City officials,
 23   including Huntington Beach Police personnel, from full, effective law en-
 24   forcement and obstructs the City’s ability to coordinate and cooperate
 25   with Federal law enforcement agencies. Pursuant to the Supremacy
 26   Clause, U.S. Federal immigration law is supreme, and the Sanctuary
 27   State Law is an unconstitutional barrier to the City’s effective law en-
 28   forcement efforts.


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  1         189. Governor Newsom and Attorney General Bonta have publicly
  2   expressed on multiple occasions their intent to enforce the Sanctuary
  3   State Laws and they have a direct connection to such enforcement by vir-
  4   tue of the offices that they hold. Governor Newsom’s and Attorney Gen-
  5   eral Bonta’s violations of 8 U.S.C. §§ 1373 and 1644 are ongoing. Their
  6   enforcement of the Sanctuary State Law causes ongoing harm to the
  7   Plaintiffs, and prospective injunctive relief will redress that harm.
  8         190. Plaintiffs have no adequate remedy at law. Absent relief, De-
  9   fendants’ actions continue to harm and threaten to harm Plaintiffs by
 10   impairing enjoyment of this right.
 11                           FIFTH CAUSE OF ACTION
 12            VIOLATION OF U.S. FEDERAL CRIMINAL LAWS
 13                         18 U.S.C. §§ 4, 371, 372, and 1512
 14                            (Against All Defendants)
 15         191. Plaintiffs hereby incorporate the allegations made in each
 16   preceding paragraph of this Complaint as if fully set forth herein.
 17         192. The Sanctuary State Law is unconstitutional. See U.S. Const.
 18   art. VI, cl. 2; U.S. Const. art. I, § 8, cl. 4; U.S. Const. amend. I; 8 U.S.C.
 19   §§ 1324, 1325, 1373, and 1644; 18 U.S.C. §§ 4, 371, 372, and 1512; see al-
 20   so Cal. Const. art. XI, § 5; Cal. Const. art. XX, § 3.
 21         193. The Sanctuary State Law requires the Plaintiffs to commit
 22   federal crimes under 18 U.S.C. § 4, which provides that “[w]hoever, hav-
 23   ing knowledge of the actual commission of a felony cognizable by a court
 24   of the United States, conceals and does not as soon as possible make
 25   known the same to some judge or other person in civil or military author-
 26   ity under the United States, shall be fined under this title or imprisoned
 27   not more than three years, or both.” 18 U.S.C. § 4.
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  1        194. The Sanctuary State Law requires the plaintiffs to commit
  2   federal crimes under 18 U.S.C. § 4 because it forbids the Plaintiffs from
  3   disclosing immigration-related felonies committed by aliens to federal
  4   authorities. Some examples of such felonies include: 1) improper entry
  5   and re-entry into the United States, 8 U.S.C. §§ 1325(a) and 1326; estab-
  6   lishing “a commercial enterprise for the purpose of evading any provision
  7   of the immigration laws,” 8 U.S.C. § 1325(d); and bringing in and harbor-
  8   ing aliens, 8 U.S.C. § 1324.
  9        195. The Sanctuary State Law also requires the Plaintiffs to com-
 10   mit federal crimes under 8 U.S.C. § 371, which provides that “[i]f two or
 11   more persons conspire either to commit any offense against the United
 12   States, or to defraud the United States, or any agency thereof in any
 13   manner or for any purpose…each shall be fined under this title or im-
 14   prisoned not more than five years, or both.” See United States v. Tuohey,
 15   867 F.2d 534, 536 (9th Cir. 1989) (“conspiracy to defraud the United
 16   States is not limited to common-law fraud, but reaches ‘any conspiracy
 17   for the purpose of impairing, obstructing or defeating the lawful function
 18   of any department of government.’ (citation omitted)”).
 19        196. As explained in this Complaint, the Sanctuary State Laws re-
 20   quire the Plaintiffs and City employees to commit a number of offenses
 21   against the United States, including under 8 U.S.C. 1324 and 18 U.S.C.
 22   §§ 4, 372, and 1512.
 23        197. The Sanctuary State Law also requires the Plaintiffs to com-
 24   mit federal crimes under 8 U.S.C. § 372, which provides that “[i]f two or
 25   more persons…conspire to prevent, by force, intimidation, or threat, any
 26   person from accepting or holding any office, trust, or place of confidence
 27   under the United States…or impede him in the discharge of his official
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  1   duties, each of such persons shall be fined under this title or imprisoned
  2   not more than six years, or both.”
  3        198. Federal immigration officials hold offices under the United
  4   States. The Sanctuary State Law requires the Plaintiffs and City em-
  5   ployees to impede federal immigration officials from discharging their of-
  6   ficial duties. The Sanctuary State Law, therefore, requires the Plaintiffs
  7   and City employees to violate 18 U.S.C. § 372.
  8        199. The Sanctuary State Law also requires the Plaintiffs to com-
  9   mit federal crimes under 18 U.S.C. § 1512(b)(2)(D) and (b)(3)18 U.S.C. §
 10   4, which make it a crime carrying a penalty of up to 20 years’ imprison-
 11   ment for anyone who “knowingly ... engages in misleading conduct to-
 12   ward another person, with intent to ... cause or induce any person to ...
 13   be absent from an official proceeding to which such person has been
 14   summoned by legal process” or to “hinder, delay, or prevent the commu-
 15   nication to a law enforcement officer or judge of the United States of in-
 16   formation relating to the commission or possible commission of a Federal
 17   offense or a violation of ... parole[] or release pending judicial proceed-
 18   ings.”
 19        200. The Sanctuary State Law requires the Plaintiffs and City
 20   employees to engage in misleading conduct to help aliens absent them-
 21   selves from administrative immigration court proceedings, which are of-
 22   ficial proceedings to which aliens are summoned. The Sanctuary State
 23   laws also require the Plaintiffs and City employees to hinder, delay, or
 24   prevent communications between DHS law enforcement officers and al-
 25   iens related to the aliens’ violations of Federal law. The Sanctuary State
 26   Law, therefore, requires the Plaintiffs and City employees to violate 18
 27   U.S.C. § 1512.
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  1         201. Additionally, by enforcing the Sanctuary State Law, Governor
  2   Newsom and Attorney General Bonta are violating 18 U.S.C. §§ 4, 371,
  3   372, and 1512.
  4         202. Under the Sanctuary State Law, City officials, including Hun-
  5   tington Beach Police personnel, are mandated to “conceal, harbor, or
  6   shield from detection” any alien in their custody in violation of 8 U.S.C. §
  7   1324(a)(1)(iii).   See Cal. Gov. Code §§ 7282.5, 7284.6, 7284.4, 7285.1,
  8   7285.2.
  9         203. City officials, including Huntington Beach Police personnel,
 10   are unable to fulfill their duty to investigate or detain individuals having
 11   committed crimes without violating the Sanctuary State Law. See Cal.
 12   Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
 13         204. The Sanctuary State Law prohibits local law enforcement of-
 14   ficers from cooperating with the Federal Government in a criminal im-
 15   migration investigation. See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6,
 16   7285.1, 7285.2.
 17         205. The Sanctuary State Law bars local jurisdictions from com-
 18   plying with 8 U.S. Code, Section 1324 or participate in a joint task force.
 19   See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
 20         206. The Sanctuary State Law restricts cooperation between local
 21   law enforcement agencies and the Federal Government. See Cal. Gov.
 22   Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
 23         207. The Sanctuary State Law’s interference with the Plaintiffs’
 24   coordination with the Federal Government in order to “protect” illegal
 25   immigrants from the Federal Government’s enforcement of the U.S. Fed-
 26   eral immigration laws as Defendants Governor Newsom and Attorney
 27   General Robert Bonta have declared is tantamount to “harboring” of ille-
 28   gal aliens by the State of California.


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  1        208. City officials, including Huntington Beach Police personnel,
  2   are unable to stop crime before it occurs. Instead, they must sit idly by
  3   and wait for a human smuggling incident to become a human trafficking
  4   situation in order to intervene and comply with California Government
  5   Code §§ 7282.5, 7284.4, 7284.6.
  6        209. The Sanctuary State Law is an obstacle to the City’s ability to
  7   comply with U.S. Federal immigration laws. It prevents City officials,
  8   including Huntington Beach Police personnel, from full, effective law en-
  9   forcement and obstructs the City’s ability to coordinate and cooperate
 10   with Federal law enforcement agencies.       Pursuant to the Supremacy
 11   Clause, U.S. Federal immigration law is supreme, and the Sanctuary
 12   State Law is an unconstitutional barrier to the City’s effective law en-
 13   forcement efforts.
 14        210. Governor Newsom and Attorney General Bonta have publicly
 15   expressed on multiple occasions their intent to enforce the Sanctuary
 16   State Laws and they have a direct connection to such enforcement by vir-
 17   tue of the offices that they hold. Governor Newsom’s and Attorney Gen-
 18   eral Bonta’s violations of 18 U.S.C. §§ 4, 371, 372, and 1512 are ongoing.
 19   Their enforcement of the Sanctuary State Law causes ongoing harm to
 20   the Plaintiffs, and prospective injunctive relief will redress that harm.
 21        211. Plaintiffs have no adequate remedy at law. Absent relief, De-
 22   fendants’ actions continue to harm and threaten to harm Plaintiffs by
 23   impairing enjoyment of this right.
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  1                         SIXTH CAUSE OF ACTION
  2       AIDING AND ABETTING, ACCESSORY AFTER THE FACT
  3          VIOLATION OF CALIFORNIA PENAL CODE §§ 31, 32
  4                          (Against All Defendants)
  5        212. Plaintiffs hereby incorporate the allegations made in each
  6   preceding paragraph of this Complaint as if fully set forth herein.
  7        213. California Penal Code § 31 provides, “All persons concerned in
  8   the commission of a crime, whether it be felony or misdemeanor, and
  9   whether they directly commit the act constituting the offense, or aid and
 10   abet in its commission, or, not being present, have advised and encour-
 11   aged its commission, and all persons counseling, advising, or encourag-
 12   ing children under the age of fourteen years, or persons who are mentally
 13   incapacitated, to commit any crime, or who, by fraud, contrivance, or
 14   force, occasion the drunkenness of another for the purpose of causing him
 15   to commit any crime, or who, by threats, menaces, command, or coercion,
 16   compel another to commit any crime, are principals in any crime so
 17   committed.”
 18        214. California Penal Code § 32 provides: “Every person who, after
 19   a felony has been committed, harbors, conceals or aids a principal in
 20   such felony, with the intent that said principal may avoid or escape from
 21   arrest, trial, conviction or punishment, having knowledge that said prin-
 22   cipal has committed such felony or has been charged with such felony or
 23   convicted thereof, is an accessory to such felony.”
 24        215. Under the Sanctuary State Law, City officials, including Hun-
 25   tington Beach Police personnel, are mandated to “conceal, harbor, or
 26   shield from detection” any alien in their custody in violation of 8 U.S.C.
 27   §1324(a)(1)(iii). See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1,
 28   7285.2.


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  1        216. Additionally, the Sanctuary State Law requires the Plaintiffs
  2   and City employees to encourage and conceal the commission of felonies
  3   by aliens, including under 8 U.S.C. §§ 1325(a), (d) and 1326.
  4        217. City officials, including Huntington Beach Police personnel,
  5   are unable to fulfill their duty to investigate or detain individuals having
  6   committed crimes without violating the Sanctuary State Law. See Cal.
  7   Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
  8        218. The Sanctuary State Law prohibits local law enforcement of-
  9   ficers from cooperating with the Federal Government in criminal immi-
 10   gration investigation.   See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6,
 11   7285.1, 7285.2.
 12        219. The Sanctuary State Law bars local jurisdictions from com-
 13   plying with 8 U.S.C. § 1324 or participate in a joint task force. See Cal.
 14   Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
 15        220. The Sanctuary State Law restricts cooperation between local
 16   law enforcement agencies and the Federal Government. See Cal. Gov.
 17   Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
 18        221. The Sanctuary State Law’s interference with the City’s coor-
 19   dination with the Federal Government in order to “protect” illegal immi-
 20   grants from the Federal Government’s enforcement of the U.S. Federal
 21   immigration laws as Defendants Governor Newsom and Attorney Gen-
 22   eral Robert Bonta have declared is “harboring” of illegal aliens by the
 23   State of California and amounts to a violation of California Penal Code
 24   §§ 31 and 32.
 25        222. The Sanctuary State Law causes City officials, including
 26   Huntington Beach Police personnel, to violate California Penal Code §§
 27   31 and 32 by aiding and abetting the commission of a crime and accesso-
 28   ry after the fact in the commission of a crime, i.e., the violation of U.S.


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  1   Federal immigration laws, including but not limited to 8 U.S.C. §§ 1324,
  2   1325, and 1326.
  3         223. Plaintiffs have no adequate remedy at law. Absent relief, De-
  4   fendants’ actions continue to harm and threaten to harm Plaintiffs by
  5   impairing enjoyment of this right.
  6                         SEVENTH CAUSE OF ACTION
  7                     VIOLATION OF OATH OF OFFICE
  8        ARTICLE XX, § 3 OF THE CALIFORNIA CONSTITUTION
  9                           (Against All Defendants)
 10         224. Plaintiffs hereby incorporate the allegations made in each
 11   preceding paragraph of this Complaint as if fully set forth herein.
 12         225. The Sanctuary State Law is unconstitutional. See U.S. Const.
 13   art. VI, cl. 2; U.S. Const. art. I, § 8, cl. 4; U.S. Const. amend. I; 8 U.S.C.
 14   §§ 1324, 1325, 1373, and 1644; 18 U.S.C. §§ 4, 371, 372, and 1512; see al-
 15   so Cal. Const. art. XI, § 5; Cal. Const. art. XX, § 3.
 16         226. Article XX, § 3 of the California Constitution provides the
 17   Oath of Office that certain City officials, including elected officials and
 18   police officers, are required to take in order to be fully vested with au-
 19   thority for the office they are to assume. Cal. Const. art. XX, § 3.
 20         227. The Constitutionally required Oath of Office states “I, ............,
 21   do solemnly swear (or affirm) that I will support and defend the Consti-
 22   tution of the United States and the Constitution of the State of Califor-
 23   nia against all enemies, foreign and domestic; that I will bear true faith
 24   and allegiance to the Constitution of the United States and the Constitu-
 25   tion of the State of California; that I take this obligation freely, without
 26   any mental reservation or purpose of evasion; and that I will well and
 27   faithfully discharge the duties upon which I am about to enter.”
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  1         228. The Sanctuary State Law forces the City’s officials, including
  2   Huntington Beach Police personnel, to violate their legal obligations and
  3   their Oaths of Office to the U.S Constitution, the California Constitution,
  4   and U.S. Federal immigration laws in violation of the California Consti-
  5   tution’s Oath of Office.
  6         229. Under the Sanctuary State Law, City officials, including Hun-
  7   tington Beach Police personnel, are mandated to “conceal, harbor, or
  8   shield from detection” any alien in their custody in violation of 8 U.S.C. §
  9   1324(a)(1)(iii).   See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1,
 10   7285.2.
 11         230. City officials, including Huntington Beach Police personnel,
 12   are unable to fulfill their duty to investigate or detain individuals having
 13   committed crimes without violating the Sanctuary State Law. See Cal.
 14   Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
 15         231. The Sanctuary State Law prohibits local law enforcement of-
 16   ficers from cooperating with the Federal Government in criminal immi-
 17   gration investigation.     See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6,
 18   7285.1, 7285.2.
 19         232. The Sanctuary State Law bars local jurisdictions from com-
 20   plying with 8 U.S.C. § 1324 or participate in a joint task force. See Cal.
 21   Gov. Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
 22         233. The Sanctuary State Law restricts cooperation between local
 23   law enforcement agencies and the Federal Government. See Cal. Gov.
 24   Code §§ 7282.5, 7284.4, 7284.6, 7285.1, 7285.2.
 25         234. The Sanctuary State Law’s interference with the City’s coor-
 26   dination with the Federal Government in order to “protect” illegal immi-
 27   grants from the Federal Government’s enforcement of the U.S. Federal
 28   immigration laws causes City officials, including Huntington Beach Po-


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  1   lice personnel, to violate the terms of their Oath of Office required by the
  2   California Constitution, i.e., that they swear to “support and defend the
  3   Constitution of the United States and the Constitution of the State of
  4   California against all enemies, foreign and domestic; that [they] will bear
  5   true faith and allegiance to the Constitution of the United States and the
  6   Constitution of the State of California; that [they] take this obligation
  7   freely, without any mental reservation or purpose of evasion; and that
  8   [they] will well and faithfully discharge the duties upon which [they]
  9   a[re] about to enter,” causing violations of U.S. Federal immigration
 10   laws, including but not limited to 8 U.S.C. §§ 1324 and 1325.
 11        235. Plaintiffs have no adequate remedy at law. Absent relief, De-
 12   fendants’ actions continue to harm and threaten to harm Plaintiffs by
 13   impairing enjoyment of this right.
 14                         EIGHTH CAUSE OF ACTION
 15                         VIOLATION OF CIVIL RIGHTS
 16                                 42 U.S.C. § 1983
 17     (Against Defendants Governor Newsom and Attorney General
 18                                     Bonta)
 19        236. Plaintiffs hereby incorporate the allegations made in each
 20   preceding paragraph of this Complaint as if fully set forth herein.
 21        237. Under 42 U.S.C. § 1983, “Every person who, under color of
 22   any statute, ordinance, regulation, custom, or usage, of any State ... sub-
 23   jects, or causes to be subjected, any citizen of the United States ... to the
 24   deprivation of any rights, privileges, or immunities secured by the Con-
 25   stitution and laws, shall be liable to the party injured in an action at law,
 26   suit in equity, or other proper proceeding for redress....”
 27        238. The Sanctuary State Law compels the speech of the Plaintiffs
 28   and the City’s employees. See Cal. Gov. Code §§ 7282.5, 7284.4, 7284.6,


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  1   7285.1, 7285.2. This deprives the Plaintiffs of their free speech rights
  2   under the First Amendment of the Constitution.
  3        239. The Sanctuary State Law restricts the Plaintiffs and the
  4   City’s employees, who are “government entit[ies] or official[s],” “from
  5   sending to, or receiving from, ... [DHS] information regarding the citizen-
  6   ship or immigration status, lawful or unlawful, of any individual.” 8
  7   U.S.C. §§ 1373 and 1644; see also Cal. Gov. Code §§ 7282.5, 7284.4,
  8   7284.6, 7285.1, 7285.2.
  9        240. Because Federal law protects the Plaintiffs’ right and privi-
 10   lege of communicating with DHS regarding the immigration status of al-
 11   iens, the Sanctuary State Law deprives the Plaintiffs of their rights and
 12   privileges under Sections 1373 and 1644.
 13        241. Governor Newsom and Attorney General Bonta have publicly
 14   expressed on multiple occasions their intent to enforce the Sanctuary
 15   State Laws and they have a direct connection to such enforcement by vir-
 16   tue of the offices that they hold. Governor Newsom’s and Attorney Gen-
 17   eral Bonta’s violations of the First Amendment and 8 U.S.C. §§ 1373 and
 18   1644 are ongoing. Their enforcement of the Sanctuary State Law causes
 19   ongoing harm to the Plaintiffs by depriving them of their rights and priv-
 20   ileges under the U.S. Constitution and Federal law. Prospective injunc-
 21   tive relief will redress that harm.
 22        242. The Plaintiffs have no adequate remedy at law. Absent relief,
 23   Defendants’ actions continue to harm and threaten to harm Plaintiffs by
 24   impairing enjoyment of this right.
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  1                         NINTH CAUSE OF ACTION
  2      NON-STATUTORY CAUSE OF ACTION FOR VIOLATION OF
  3                                 FEDERAL LAW
  4     (Against Defendants Governor Newsom and Attorney General
  5                                      Bonta)
  6        243. Plaintiffs hereby incorporate the allegations made in each
  7   preceding paragraph of this Complaint as if fully set forth herein.
  8        244. The Ex Parte Young doctrine allows for suits against state of-
  9   ficials in their official capacity for prospective injunctive relief to prevent
 10   ongoing violations of federal law. Ex parte Young, 209 U.S. 123 (1908).
 11        245. Claims for relief One through Five catalog the numerous
 12   ways that Governor Newson and Attorney General Bonta are violating
 13   Federal law. The Plaintiffs, therefore, have a cause of action under Ex
 14   Parte Young against Governor Newsom and Attorney General Bonta.
 15        246. Governor Newsom and Attorney General Bonta have publicly
 16   expressed on multiple occasions their intent to enforce the Sanctuary
 17   State Laws and they have a direct connection to such enforcement by vir-
 18   tue of the offices that they hold. Governor Newsom’s and Attorney Gen-
 19   eral Bonta’s violations of the U.S. Constitution and Federal law. Their
 20   enforcement of the Sanctuary State Law causes ongoing harm to the
 21   Plaintiffs by depriving them of their rights and privileges under the U.S.
 22   Constitution and Federal law. Prospective injunctive relief will redress
 23   that harm.
 24        247. The Plaintiffs have no adequate remedy at law. Absent relief,
 25   Defendants’ actions continue to harm and threaten to harm Plaintiffs by
 26   impairing enjoyment of this right.
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  1                           PRAYER FOR RELIEF
  2   WHEREFORE, Plaintiffs pray for relief as follows:
  3        1.    Preliminary and permanent injunctive relief preventing
  4   Defendants from enforcing the Sanctuary State Law, or, alternatively,
  5   from enforcing the California statutes and constitutional provisions upon
  6   which the Sanctuary State Law is based to the extent those statutes and
  7   provisions violate the Supremacy Clause, the aforementioned U.S.
  8
      Federal immigration, criminal, and civil rights laws, the aforementioned
  9
      California Penal Code(s), and other provisions of the U.S. Constitution
 10
      and California Constitution;
 11
           2.    An order and judgment declaring that the Sanctuary State
 12
      Law, or, alternatively, the California statutes and constitutional
 13
      provisions upon which the Sanctuary State Law is based, violate the
 14
      Supremacy Clause, the aforementioned U.S. Federal immigration,
 15
 16   criminal, and civil rights laws, the aforementioned California Penal

 17   Code(s), and other provisions of the U.S. Constitution and California
 18   Constitution;
 19        3.    An order and judgment declaring that the Sanctuary State
 20   Law provides no obstacle to Huntington Beach’s cooperation with the
 21   Federal Government and acts to comply with all U.S. Federal
 22   immigration laws, or, alternatively, the California statutes and
 23   constitutional provisions upon which AB 1955 is based, violate the
 24   Supremacy Clause, the aforementioned U.S. Federal immigration,
 25   criminal, and civil rights laws, the aforementioned California Penal
 26   Code(s), and other provisions of the U.S. Constitution and California
 27
      Constitution;
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  1        4.    Reasonable attorneys’ fees and costs pursuant to 42 U.S.C. §
  2   1988 and other applicable laws; and
  3        5.    Such other and further relief as the Court may deem just and
  4   proper.
  5
  6   DATED: March 5, 2025              MICHAEL J. Vigliotta, City Attorney
  7
  8
                             By:   /s/ Michael J. Vigliotta (with permission)
  9                                     Michael J. Vigliotta
 10                                     City Attorney
                                        City of Huntington Beach
 11
 12                          By:       /s/ James Rogers
 13                                      James K. Rogers
                                         Senior Counsel
 14                                      America First Legal Foundation
 15
 16                                     Attorneys for Plaintiffs
                                        CITY OF HUNTINGTON BEACH,
 17                                     HUNTINGTON BEACH CITY COUN-
 18                                     CIL, HUNTINGTON BEACH POLICE
                                        DEPARTMENT, and the HUNTING-
 19
                                        TON BEACH POLICE CHIEF
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  1   DEMAND FOR JURY TRIAL
  2
  3        Plaintiffs, CITY OF HUNTINGTON BEACH, HUNTINGTON
  4   BEACH CITY COUNCIL, HUNTINGTON BEACH POLICE DEPART-
  5   MENT, and the HUNTINGTON BEACH POLICE CHIEF hereby de-
  6   mand trial by jury in the above-entitled action pursuant to Federal Rules
  7   of Civil Procedure 38(b) and Local Rule 38-1.
  8
  9   DATED: March 5, 2025              MICHAEL J. Vigliotta, City Attorney
 10
 11                          By:   /s/ Michael J. Vigliotta (with permission)
 12                                     Michael J. Vigliotta, City Attorney
                                        Attorneys for Plaintiffs
 13
 14                          By:   /s/ James Rogers
 15                                      James K. Rogers
                                         Senior Counsel
 16                                      America First Legal Foundation
 17
 18
                                        CITY OF HUNTINGTON BEACH,
 19                                     HUNTINGTON BEACH CITY COUN-
 20                                     CIL, HUNTINGTON BEACH POLICE
                                        DEPARTMENT, and the HUNTING-
 21
                                        TON BEACH POLICE CHIEF
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